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 1   Craig G. Margulies, Esq. (State Bar No. 185925)
     Craig@MarguliesFaithLaw.com
 2   Monsi Morales (State Bar No. 235520)
     Monsi@MarguliesFaithLaw.com
 3   MARGULIES FAITH LLP
     16030 Ventura Blvd., Suite 470
 4   Encino, CA 91436
     Telephone: (818) 705-2777
 5   Facsimile: (818) 705-3777

 6   Counsel for Darrell Maag,
     Debtor and Debtor in Possession
 7
                                UNITED STATES BANKRUPTCY COURT
 8
                                 CENTRAL DISTRICT OF CALIFORNIA
 9
                                        NORTHERN DIVISION
10
     In re                                             Case No.: 9:22-bk-10022-DS
11
     SOUTHERN CALIFORNIA RESEARCH, LLC,                Chapter: 11
12
                                                   Jointly Administered with Case No.:
13                 Debtor and Debtor in Possession 9:22-bk-10023-DS

14                                                     MOTION FOR DISALLOWANCE OF
                                                       PROOF OF CLAIM 7 FILED BY
15   In re                                             SOUTHWESTERN RESEARCH, INC.;
                                                       MEMORANDUM OF POINTS AND
16   DARRELL MAAG,                                     AUTHORITIES; DECLARATIONS OF
                                                       MONSI MORALES AND DARRELL
17                                                     MAAG
                   Debtor and Debtor in Possession
18
                                                       Hearing:
19       Affects Both Debtors                          Date: October 11, 2022
                                                       Time: 11:30 a.m.
20       Affects Southern California Research, LLC
                                                       Place: Courtroom 201 (via ZoomGov)
21       Affects Darrell Maag                                 1415 State Street
                                                              Santa Barbara, CA 93101
22

23           Darrell Maag (“Maag” or the “Debtor”) hereby objects (the “Objection”) to proof of
24   claim number 7 (the “SRI Claim”) 1, filed in his chapter 11 case by Southwestern
25   Research, Inc. (“SRI”), on the grounds that the SRI Claim is disallowed under section
26   502(d) of title 11 of the United States Code (the “Bankruptcy Code”) because SRI was

27
     1
       A true and correct copy of the SRI Claim is attached hereto as Exhibit A, and it is
28
     incorporated herein by this reference.
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 1   the transferee of several prepetition transfers that are avoidable as preferences under
 2   section 547 of the Bankruptcy Code. Therefore, the Debtor requests an Order

 3   disallowing the SRI Claim in its entirety. In the alternative, the SRI Claim should be

 4   reclassified as a general unsecured claim, as any purported lien against the Debtor’s

 5   property in favor of SRI is avoidable, among other things, as a preferential transfer

 6   obtained within ninety (90) days of the Petition Date under Bankruptcy Code section

 7   547and the subject of a pending adversary proceeding brought by the Debtor against

 8   SRI. 2
                          MEMORANDUM OF POINTS AND AUTHORITIES
 9
                                                  I.
10
                                           JURSIDICTION
11
              This Court has jurisdiction to consider the Objection pursuant to 28 U.S.C. §§ 157
12
     and 1334. This matter relates to the administration of, and the allowance of claims
13
     against, the Debtor’s bankruptcy estate and is, accordingly, a core proceeding pursuant
14
     to 28 U.S.C. § 157(b)(2)(A), (B) and (O). Venue of this matter is proper in this Court
15
     pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief
16
     requested herein are sections 502(b) and 502(d) of the Bankruptcy Code, Rule 3007 of
17
     the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local
18
     Bankruptcy Rule 3007-1.
19
                                                  II.
20
                                     FACTUAL BACKGROUND
21
         A. Bankruptcy Cases of Maag and SCR
22            The Debtor commenced his voluntary bankruptcy case (the “Maag Case”) by filing
23   a chapter 11 petition under the Bankruptcy Code on January 12, 2022 (the “Petition
24   Date”). On that same date, related debtor Southern California Research, LLC (“SCR”)
25

26   2
      The adversary proceeding is entitled Southern California Research, LLC, and Darrell
     Maag v. Southwestern Research, Inc., Adv. Case No. 9:22-ap-01012-DS (the “Adversary
27   Action”). Given the crossover of issues to be decided, the Debtor recommends that this
     Objection be consolidated with the Adversary Action, or that the hearing on the
28
     Objection be continued to a date following the resolution of the Adversary Action.
                                                   1
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 1   also filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code,
 2   commencing case number 9:22-10022-DS (the “SCR Case”).

 3          The Bankruptcy Court authorized the joint administration of the Maag Case and

 4   the SCR Case by an Order entered on January 19, 2022.

 5      B. Dispute with SRI

 6          From 1998 through 2015, Maag was the clinical trial manager and employee of

 7   SRI. SRI was a corporation formed by two doctors to perform clinical research.

 8   Following the death of one of the founding doctors, the surviving partner (“Dr. Murphy”)
     and the heirs of the deceased (collectively, “Friedman”) engaged in litigation to determine
 9
     the ownership rights in and to SRI, which litigation ultimately determined that Friedman
10
     was entitled to a 50% ownership interest in SRI. Subsequently, Friedman commenced
11
     litigation against Dr. Murphy, Maag and SCR, among others, in the Los Angeles County
12
     Superior Court, Case No. SC 121128 (the “SRI Action”), alleging, inter alia, that Maag
13
     and SCR diverted assets and business from SRI.
14
            During the litigation in the SRI Action, all defendants, other than Dr. Murphy,
15
     Maag and SCR, settled with Friedman for the maximum allowable claims under the
16
     settling defendants’ respective insurance policies. Although Maag and SCR had
17
     insurance coverage with Travelers Casualty Insurance Company of America and
18
     Travelers Property Casualty of America (together, “Travelers”) with a policy limit of $3
19
     million, Travelers refused to settle the claims against the Debtors in the SRI Action for
20
     that amount and countered with only $790,000. Friedman rejected Travelers’s
21
     settlement offer.
22          Subsequently, the Superior Court imposed terminating sanctions against the
23   Debtors (for alleged discovery violations, which the Debtors dispute), and the Debtors’
24   answers were stricken, leaving them in default without ever litigating the matter on the
25   merits. Without the ability to defend themselves in the prove-up hearing, Maag and SCR
26   were hit with a default judgment (the “Default Judgment”) in the approximate amounts of
27

28

                                                  2
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 1   $21.3 million and $11.1 million, respectively, in October 2021. 3
 2          The Debtors believe that they may be entitled to coverage payment from

 3   Travelers up to the limits of the applicable policy, including any supplemental costs

 4   allowed, in an amount no less than $3 million. 4 The Debtors further believe that they

 5   may have claims against Travelers for bad faith, among possible other claims, and

 6   potential damages in the millions of dollars.

 7          Following the entry of the Default Judgment in the SRI Action, SRI undertook

 8   aggressive efforts to collect on the Default Judgment, including scheduling judgment
     debtor examinations, recording judgment liens and an abstract of judgment and levying
 9
     on the Debtors’ bank accounts (including savings of Maag’s sons). Specifically, as
10
     alleged in the Amended Complaint in the Adversary Action, attached to the Declaration of
11
     Monsi Morales as Exhibit B:
12
               •   On or about October 25, 2021, SRI filed a Notice of Judgment Lien (the
13
                   “Maag Judgment Lien”) with the State of California Office of the Secretary of
14
                   State, as File No. U210096510724, listing “Darrell Maag” as the judgment
15
                   debtor. See, Morales Declaration, Exhibit A, SRI Claim, Exhibit 3 thereto.
16
               •   On November 1, 2021, the State Court issued an abstract of judgment –
17
                   civil and small claims in the SRI Action in favor of SRI and against Maag
18
                   and SCR (the “Abstract of Judgment”).
19
               •   On or about November 29, 2021, SRI recorded the Abstract of Judgment in
20
                   the Ventura County Clerk-Recorder as Abstract No. 2021001978181. See,
21
                   Morales Declaration, Exhibit A, SRI Claim, Exhibit 4 thereto.
22             •   On or about December 6, 2021, SRI recorded the Abstract of Judgment in
23                 the Los Angeles County Recorder’s Office as Abstract No. 20211804889.
24                 See, Morales Declaration, Exhibit A, SRI Claim, Exhibit 6 thereto.
25

26   3
       The amount of the Default Judgment against each Debtor subsequently was reduced
     because of a settlement and payment made by Dr. Murphy, with whom the Debtors had
27   joint and several liability for a portion of the Default Judgment.
     4
       The Debtors are informed that SRI contends that any and all coverage payments must
28
     be paid directly to SRI, as judgment creditor. The Debtors dispute this contention.
                                                     3
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 1             •   Pursuant to a Writ of Execution issued on or about October 29, 2021, SRI
 2                 caused the Fresno County Sheriff’s Office to levy multiple deposit accounts

 3                 belonging to Maag and SCR for the benefit of SRI (the “Levies”). See,

 4                 Maag Declaration, Exhibits 1-2.

 5             •   By the Levies, funds from the bank accounts belonging to Maag were levied

 6                 in amounts not less than $16,324.52 in the ninety (90) days prior to the

 7                 Petition Date. See, Maag Declaration, Exhibit 3.

 8             •   By the Levies, SRI received funds from the bank accounts belonging to
                   Maag (the “Maag Levies”) in amounts not less than $336.66 in the ninety
 9
                   (90) days prior to the Petition Date. See, Morales Declaration, Exhibit C.
10
               •   On or about November 22, 2021, the State Court issued an Order directing
11
                   Maag to appear for a judgment debtor examination on January 14, 2022
12
                   (the “Maag Judgment Exam Order”). See, Morales Declaration, Exhibit A,
13
                   SRI Claim, Exhibit 5. The Maag Judgment Exam Order was served on or
14
                   about December 21, 2021. See, Morales Declaration, Exhibit A, SRI Claim,
15
                   Exhibit 7.
16
        C. The SRI Claim
17
            On April 27, 2022, SRI filed a proof of claim in the amount of $19,179,891.84 in
18
     the Maag Case, designated by the Bankruptcy Court as claim number 7 (the “SRI
19
     Claim”). The SRI Claim states that it is secured by real estate and a judgment lien on
20
     personal property, attaching copies of the Maag Judgment Lien, the Abstract of
21
     Judgment and the Maag Judgment Exam Order.
22                                                III.
23                                           OBJECTION
24          Section 502(a) of the Bankruptcy Code provides that “[a] claim or interest, proof of
25   which is filed under section 501 of this title, is deemed allowed, unless a party in
26   interest…objects.” Section 502(b)(1) states that if an “objection to a claim is made, the
27   court, after notice and hearing, shall determine the amount of such claim in lawful
28   currency of the United States as of the date of the filing of the petition, and shall allow

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 1   such claim in such amount, except to the extent that…such claim is unenforceable
 2   against the debtor…under any agreement or applicable law.” Moreover, once the

 3   objector raises facts tending to defeat the claim by probative force equal to that of the

 4   allegations of the proofs of claims themselves the “the burden reverts to the claimant to

 5   prove the validity of the claim by a preponderance of the evidence.” Wright v. Holm (In

 6   re Holm), 931 F.2d 620, 623 (9th Cir. 1991; Ashford v. Consolidated Pioneer Mortgage

 7   (In re Consolidated Pioneer Mortgage), 178 B.R. 222, 226 (9th Cir. B.A.P 1985), aff’d, 91

 8   F.3d 151 (9th Cir. 1996). “[T]he ultimate burden of persuasion is always on the
     claimant.” Holm, 931 F. 2d at 623.
 9
     A.     The SRI Claim Should Be Disallowed Pursuant To 11 U.S.C. 502(d)
10
            The SRI claim should be disallowed in its entirety pursuant to Bankruptcy Code
11
     section 502(d), because SRI is the transferee of avoidable transfers and liens that it has
12
     not repaid and relinquished.
13
            Bankruptcy Code section 502(d) states, in part, that “the court shall disallow any
14
     claim of any entity . . . that is a transferee of a transfer avoidable under section 522(f),
15
     522(h), 544, 545, 547, 548, 549, or 724(a) of this title, unless such entity or transferee
16
     has paid the amount or turned over any such property for which such entity or transferee
17
     is liable under 522(i), 542, 543, 550, or 553 of this title.” 11 U.S.C. § 502(d) (emphasis
18
     added). Section 502(d) “requires disallowance of a claim of a transferee of a voidable
19
     transfer in toto if the transferee had not paid the amount or turned over the property
20
     received as required under the sections of the Code under which the transferee’s liability
21
     arises.” 4 Collier on Bankruptcy, ¶ 502.05[1] at 502-55 (16th ed. Rev. 2022) (emphasis
22
     in original). Disallowance under section 502(d) applies even where the avoidable
23
     transfer is a lien as opposed to money or property, and the failure to relinquish the
24
     avoidable lien results in disallowance of the creditor’s claim. See In re America West
25
     Airlines, Inc. 217 F.3d 1161, 1165-1167 (9th Cir. 2000).
26
            Here, SRI is the transferee of transfers of money and liens against Maag, which
27
     are avoidable under Bankruptcy Code sections 547. By the Maag Levies, more than
28

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 1   $16,000 was levied from accounts belonging to Maag within 90 days of the Petition Date,
 2   of which amount SRI received not less than $336.66. 5 No amounts received by SRI from
 3   the Maag Levies have been repaid. In addition, SRI has not relinquished the liens to the
 4   Estate for which it is liable under Bankruptcy Code section 550(a). Specifically, within 90
 5   days of the Petition Date, SRI purportedly perfected liens against Maag’s real and
 6   personal property by recording the Abstract of Judgment and the Maag Judgment Lien
 7   and by serving the Maag Judgment Exam Order (collectively, the “Maag Transfers”).
 8            For the reasons set forth in the Amended Complaint, which allegations are
 9   incorporated herein, the Maag Levies and the Maag Transfers constitute preferential
10   transfers that are avoidable and recoverable by the Estate pursuant to Bankruptcy Code
11   sections 547 and 550, respectively. SRI has made no effort to repay the Maag Levies or
12   to relinquish the liens created by the Maag Transfers. Accordingly, the SRI Claim should
13   be disallowed in its entirety pursuant to Bankruptcy Code section 502(d).
14   B.       Notwithstanding Disallowance under Section 502(d) The SRI Claim Should
15   Be Disallowed As To Any Amounts Not Due And Owing.
16            Aside from disallowance of the SRI Claim in its entirety under Section A above,
17   the SRI Claim should be disallowed for any amount not proven as due and owing,
18   including but not limited to the following:
19               •   There is a dispute between the parties as to the amount of money received
20                   by SRI on account of the Maag Levies. However, the SRI Claim does not
21                   appear to account for any amounts received by the Maag Levies, even
22                   those amounts that SRI has admitted having received. (See Morales
23                   Declaration, Exhibit C);
24               •   SRI has alleged a right to receive any payments from Travelers under the
25                   Debtor’s insurance policy (disputed by the Debtor), which may significantly
26                   reduce the SRI Claim;
27               •   The SRI Claim appears to calculate interest post-Petition Date, and if
28   5
         The SRI Claim does not calculate the receipt of any levied funds into its claim amount.
                                                   6
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 1                   accurate, such amounts are not authorized since the claim amount exceeds
 2                   the value of the Debtor’s assets. (See Debtor’s Schedules incorporated
 3                   herein by this reference; Dkt. nos. 1 and 52). All post-petition interest
 4                   should be disallowed. See, 11 U.S.C. § 506(b); United States v. Ron Pair
 5                   Enterprises, Inc., 489 U.S. 235, 241 (1989); and
 6               •   The Adversary Action remains pending which, depending on the outcome,
 7                   will affect the amount of the SRI Claim. Thus, the Debtor reserves all
 8                   rights, claims and defenses to the amount of the SRI Claim as affected by
 9                   the pending Adversary Action.
10            Because of the inaccurate and potentially changing amount of the SRI Claim, the
11   Debtor requests an opportunity to conduct discovery, if necessary, with respect to the
12   SRI Claim and this Objection. Further, the Debtor reserves all rights to supplement this
13   Objection and/or raise any additional objections to the SRI Claim in amount and/or for
14   any other reason that may arise.
15   C.       In the Alternative, the SRI Claim Should Be Reclassified As Unsecured
16            As set forth in the Amended Complaint in the Adversary Action, the Maag

17   Transfers are avoidable as preferential transfers pursuant to Bankruptcy Code section

18   547. The Maag Transfers were transfers of a property interest of Plaintiff Maag made

19   within 90 days of the Petition Date, at a time when Maag was insolvent 6. The Maag

20   Transfers were made to or for the benefit of SRI on account of an antecedent debt owed

21   by Maag at a time in which SRI was an alleged creditor of Plaintiff Maag, as the term

22   “creditor” is defined by 11 U.S.C. § 101(10). The Maag Transfers enabled SRI to receive
     more than SRI would otherwise have received if (a) the Maag Bankruptcy Case was a
23
     case under chapter 7 of the Bankruptcy Code; (b) the Maag Transfers had not been
24
     made; and (c) SRI received payment of such debt to the extent provided by the
25
     provisions of the Bankruptcy Code.
26
     The Maag Transfers are avoidable as preferential transfers, which will be adjudicated in
27

28   6
         See 11 U.S.C. § 547(f) (debtor’s presumption of insolvency during 90 days prepetition).
                                                     7
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 1   the Adversary Action. Once the Maag Transfers are avoided and recovered on behalf of
 2   the Estate, SRI will not have a valid, perfected lien on any property of the Debtor. As a

 3   result, the SRI Claim should be reclassified and deemed to be a general unsecured

 4   claim.

 5                                                 IV.

 6                                          CONCLUSION

 7            WHEREFORE the Debtor respectfully requests that the Bankruptcy Court enter

 8   an order (a) disallowing the SRI Claim in its entirety, or, in the alternative, reclassifying
     the SRI Claim as unsecured, and (b) granting such other and further relief as may be
 9
     appropriate under the circumstances.
10
     .
11

12   DATED: September 2, 2022                            MARGULIES FAITH, LLP

13
                                                By:   /s/ Monsi Morales               .
14                                                     Craig G. Margulies
                                                       Monsi Morales
15                                              Attorneys for Debtor Darrell Derrick Maag

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 1                              DECLARATION OF DARRELL MAAG
 2      I, Darrell Maag, declare as follows:

 3          1.     I am an individual residing in the State of California and am the Managing

 4   Member and sole owner of Southern California Research, LLC (“SCR”). I am the debtor

 5   and debtor-in-possession in the above-captioned case. I have personal knowledge of

 6   the facts set forth in this Declaration and, if called upon to testify as to such facts, I could

 7   and would so state.

 8          2.     I submit this declaration in support of the Motion for Disallowance of Proof

 9   of Claim 7 Filed by Southwestern Research, Inc. (the “Objection”). Capitalized terms

10   used herein and not defined shall have the meanings ascribed to them in the Objection.

11          3.     I commenced my voluntary bankruptcy case (the “Maag Case”) by filing a

12   chapter 11 petition under the Bankruptcy Code on January 12, 2022 (the “Petition

13   Date”). On that same date, I caused SCR to file a voluntary petition for relief under

14   chapter 11 of the Bankruptcy Code, commencing case number 9:22-10022-DS (the

15   “SCR Case”).

16          4.     From 1998 through 2015, I was the clinical trial manager and employee of

17   SRI.

18          5.     I am informed and believe that SRI was a corporation formed by two

19   doctors to perform clinical research.

20          6.     I am informed and believe that, following the death of one of the founding

21   doctors, the surviving partner (“Dr. Murphy”) and the heirs of the deceased (collectively,

22   “Friedman”) engaged in litigation to determine the ownership rights in and to SRI, which

23   litigation ultimately determined that Friedman was entitled to a 50% ownership interest in

24   SRI.

25          7.     Subsequently, Friedman commenced litigation against Dr. Murphy, me and

26   SCR, among others, in the Los Angeles County Superior Court, Case No. SC 121128

27   (the “SRI Action”), alleging, inter alia, that SCR and I diverted assets and business from

28   SRI.

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 1          8.     During the litigation in the SRI Action, all defendants, other than Dr.
 2   Murphy, SCR and me, settled with Friedman for the maximum allowable claims under
 3   the settling defendants’ respective insurance policies.
 4          9.     Although SCR and I had insurance coverage with Travelers Casualty
 5   Insurance Company of America and Travelers Property Casualty of America (together,
 6   “Travelers”) with a policy limit of $3 million, Travelers refused to settle the claims against
 7   us in the SRI Action for that amount and countered with only $790,000.
 8          10.    Friedman rejected Travelers’s settlement offer.
 9          11.    Subsequently, the Superior Court imposed terminating sanctions against
10   SCR and me (for alleged discovery violations, which we dispute), and our answers were
11   stricken.
12          12.    As a result, SCR and I were hit with a default judgment (the “Default
13   Judgment”) in the approximate amounts of $21.3 million and $11.1 million, respectively,
14   in October 2021.
15          13.    I am informed and believe that the amount of the Default Judgment against
16   SCR and me subsequently was reduced because of a settlement and payment made by
17   Dr. Murphy, with whom we had joint and several liability for a portion of the Default
18   Judgment.
19          14.    I believe that SCR and I may be entitled to coverage payment from
20   Travelers up to the limits of the applicable policy, including any supplemental costs
21   allowed, in an amount no less than $3 million.
22          15.    I further believe that SCR and I may have claims against Travelers for bad
23   faith, among possible other claims, and potential damages in the millions of dollars.
24          16.    As set forth in more detail in the pending Adversary Action brought by me
25   and SCR against SRI, following the entry of the Default Judgment in the SRI Action, SRI
26   undertook aggressive efforts to collect on the Default Judgment, including scheduling
27   judgment debtor examinations, recording judgment liens and an abstract of judgment
28   and levying on the bank accounts belonging to me and SCR (including savings of one of

                                                   10
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 1                              DECLARATION OF MONSI MORALES
 2          I, Monsi Morales, declare as follows:

 3          1.     I am a partner with Margulies Faith LLP, the attorneys for Darrell Maag

 4   (“Maag,” or the “Debtor”). Each of the facts contained in this declaration are based upon

 5   my personal knowledge and, if called as a witness to do so, I could competently testify

 6   thereto.

 7          2.     I submit this declaration in support of the Motion for Disallowance of Proof

 8   of Claim 7 Filed by US Bank National Association (the “Objection”) filed by the Debtor.

 9   Capitalized terms used in this Declaration and not defined have the same meanings as

10   stated in the Objection.

11          3.     The Debtor commenced his voluntary bankruptcy case (the “Maag Case”)

12   by filing a chapter 11 petition under the Bankruptcy Code on January 12, 2022 (the

13   “Petition Date”).

14          4.     On that same date, related debtor Southern California, LLC (“SCR”) also

15   filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code, commencing

16   case number 9:22-10022-DS (the “SCR Case”).

17          5.     The Bankruptcy Court authorized the joint administration of the Maag Case

18   and the SCR Case by an Order entered on January 19, 2022.

19          6.     On April 27, 2022, SRI filed a proof of claim in the amount of

20   $19,179,891.84 in the Maag Case, designated by the Bankruptcy Court as claim number

21   7 (the “SRI Claim”). A true and correct copy of the SRI Claim is attached hereto as

22   Exhibit A.

23          7.     On March 29, 2022, Maag and SCR filed the first amended complaint (the

24   “Amended Complaint”) in the Adversary Action title Southern California Research, LLC,

25   and Darrell Maag v. Southwestern Research, Inc., Adv. Case No. 9:22-ap-01012-DS. A

26   true and correct copy of the Amended Complaint is attached hereto as Exhibit B.

27          8.     Attached hereto as Exhibit C is a true and correct copy of a letter received

28   by my office from counsel for SRI, in which counsel admits that SRI received $336.56 on

                                                 25
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 1   account of the prepetition Maag Levies and which includes copies of checks from the
 2   Fresno County Sheriff's Office Civil Unit showing the amount paid.
 3         I declare under penalty of perjury that the foregoing is true and correct.
 4         Executed this 2nd day of September 2022 at Encino, California.
 5
                                                                 /s/ Monsi Morales
 6                                                               Monsi Morales
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 Fill in this information to identify the case:
                                                                                                                                 FILED
 Debtor 1 Darrell Maag                                                                                                   U.S. Bankruptcy Court
                                                                                                                       Central District of California
 Debtor 2
 (Spouse, if filing)                                                                                                             4/27/2022
 United States Bankruptcy Court           Central District of California                                              Kathleen J. Campbell, Clerk
 Case number: 22−10023


Official Form 410
Proof of Claim                                                                                                                                          04/22

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


Part 1: Identify the Claim
1.Who is the current            Southwestern Research, Inc.
  creditor?
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor


2.Has this claim been                    No
  acquired from                          Yes. From whom?
  someone else?
3.Where should notices            Where should notices to the creditor be sent?                  Where should payments to the creditor be sent? (if
  and payments to the                                                                            different)
  creditor be sent?               Southwestern Research, Inc.

  Federal Rule of                 Name                                                           Name
  Bankruptcy Procedure
  (FRBP) 2002(g)                  c/o Donald L. Cornwell
                                  Law Offices of Donal L. Cornwell
                                  11766 Wilshire Boulevard, Suite 700
                                  Los Angeles, CA 90025

                                  Contact phone              310−477−3111                        Contact phone

                                  Contact email         don@doncornwell.com                      Contact email

                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):



4.Does this claim amend                  No
  one already filed?                     Yes. Claim number on court claims registry (if known)                       Filed on

                                                                                                                                 MM / DD / YYYY
5.Do you know if anyone                  No
  else has filed a proof                 Yes. Who made the earlier filing?
  of claim for this claim?
Official Form 410                                                      Proof of Claim                                                  page 1




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Part 2: Give Information About the Claim as of the Date the Case Was Filed 164
6.Do you have any                  No
  number you use to                Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:
  identify the debtor?


7.How much is the             $     19179891.84                     Does this amount include interest or other charges?
  claim?                                                              No
                                                                      Yes. Attach statement itemizing interest, fees, expenses, or
                                                                      other charges required by Bankruptcy Rule 3001(c)(2)(A).
8.What is the basis of        Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
  the claim?                  death, or credit card. Attach redacted copies of any documents supporting the claim required by
                              Bankruptcy Rule 3001(c).
                              Limit disclosing information that is entitled to privacy, such as healthcare information.
                              October 20, 2021 judgment (Exhibit 2)


9. Is all or part of the          No
   claim secured?                 Yes. The claim is secured by a lien on property.
                                   Nature of property:
                                       Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                      Proof of Claim Attachment (Official Form 410−A) with this Proof of Claim.
                                       Motor vehicle
                                       Other. Describe:           Judgment lien on personal property


                                    Basis for perfection:                     Exhibits 2−8

                                    Attach redacted copies of documents, if any, that show evidence of perfection of a security
                                    interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                    document that shows the lien has been filed or recorded.)

                                    Value of property:                        $      6854890.96

                                    Amount of the claim that is               $      6854890.96
                                    secured:
                                    Amount of the claim that is               $      12325000.88                   (The sum of the secured and
                                    unsecured:                                                                     unsecured amounts should
                                                                                                                   match the amount in line 7.)


                                    Amount necessary to cure any default as of the                     $     19179891.84
                                    date of the petition:

                                    Annual Interest Rate (when case was filed)                          10         %
                                          Fixed
                                          Variable
10.Is this claim based on           No
   a lease?                         Yes. Amount necessary to cure any default as of the date of the petition.$


11.Is this claim subject to        No
   a right of setoff?              Yes. Identify the property:




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12.Is all or part of the claim            No
    entitled to priority under                                                                                                Amount entitled to priority
    11 U.S.C. § 507(a)?                   Yes. Check all that apply:
    A claim may be partly                   Domestic support obligations (including alimony and child support) $
    priority and partly                     under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,
    in some categories, the                 Up to $3,350 * of deposits toward purchase, lease, or rental of                   $
    law limits the amount                   property or services for personal, family, or household use. 11
    entitled to priority.                   U.S.C. § 507(a)(7).
                                            Wages, salaries, or commissions (up to $15,150 *) earned within                   $
                                            180 days before the bankruptcy petition is filed or the debtor's
                                            business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                            Taxes or penalties owed to governmental units. 11 U.S.C. §                        $
                                            507(a)(8).
                                            Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                            Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies                   $

                                         * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date
                                         of adjustment.

Part 3: Sign Below
 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date it. FRBP                  I am the creditor.
 9011(b).
                                         I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP                    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts
 to establish local rules                I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 specifying what a signature     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
 is.                             the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fraudulent claim could be       and correct.
 fined up to $500,000,
 imprisoned for up to 5          I declare under penalty of perjury that the foregoing is true and correct.
 years, or both.
 18 U.S.C. §§ 152, 157 and
 3571.                           Executed on date                4/27/2022

                                                                 MM / DD / YYYY


                                 /s/ J. Scott Bovitz

                                 Signature

                                 Print the name of the person who is completing and signing this claim:
                                 Name                                         J. Scott Bovitz

                                                                             First name        Middle name        Last name
                                 Title                                        Senior partner

                                 Company                                      Bovitz & Spitzer

                                                                             Identify the corporate servicer as the company if the authorized agent is a
                                                                             servicer
                                 Address                                      1100 Wilshire Boulevard, Suite 2403

                                                                             Number Street
                                                                              Los Angeles, CA 90017−1961

                                                                             City State ZIP Code
                                 Contact phone             213−346−8300                         Email         bovitz@bovitz−spitzer.com


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J u d g m e nt A g ai n st D arr ell M a a g
( wit h off s et c al c ul ati o n s f or J o h n M ur p h y s ettl e m e nt)

J U D G M E N T D E B T - D arr ell M a a g
C o m p e n s at or y D a m a n g e s pl u s i nt er e st t hr o u g h J ul y 1 2, 2 0 2 1:                                                      $ 2 2, 5 3 7, 0 2 4. 4 2

                                                                             D ail y A m t           St art            J u d g m e nt
D ail y I nt er e st t hr o u g h d at e of J u d g m e n t                     $ 2, 9 1 1. 9 1       7/ 1 2/ 2 0 2 1 1 0/ 2 0/ 2 0 2 1               $ 2 9 1, 1 9 1. 0 0
   at 7 % si m pl e

P u niti v e D a m a g e s                                                                                                                            $ 3 0 0, 0 0 0. 0 0

C o st s:                                                                                                                                            $ 1 8 1, 1 4 4. 7 2

Gr o s s A mt b ef or e off s et f or S c hr ei b er/ M a x w ell S ettl e m e nt s                                                             $ 2 3, 3 0 9, 3 6 0. 1 4


L e s s:    Off s et f or m o ni e s r e c ei v e d vi a s ettl e m e nt s                                                                        - $ 2, 0 3 1, 7 8 0. 0 0

T O T A L D U E O N E N T R Y O F J U D G M E N T ( 1 0/ 2 0/ 2 0 2 1)                                                                     $ 2 1, 2 7 7, 5 8 0. 1 4

D ail y p o st-j u d g m e nt i nt er e st ( 1 0 % si m pl e)                                                            $ 5, 8 2 9. 4 7

A c c u m ul at e d I nt er e st d u e o n j u d g m e nt                                         A m o u nt a s of     1/ 1 1/ 2 0 2 2              $ 4 8 3, 8 4 6. 3 4

U n p ai d j u d g m e nt a m o u nt pl u s i nt er e st                                          A m o u nt a s of     1/ 1 1/ 2 0 2 2    $ 2 1, 7 6 1, 4 2 6. 4 8



M U R P H Y S E T T L E M E N T O F F S E T C A L C U L A TI O N S :
M ur p h y J u d g m e nt
C o m p e n s at or y D a m a g e s pl u s i nt er e st t hr o u g h J ul y 1 2, 2 0 2 1:                                                        $ 2 2, 6 0 5, 1 0 9. 3 5

                                                                             D ail y A m t           St art            J u d g m e nt
D ail y I nt er e st t hr o u g h d at e of J u d g m e n t                     $ 2, 9 2 1. 5 0       7/ 1 2/ 2 0 2 1 1 0/ 2 0/ 2 0 2 1               $ 2 9 2, 1 5 0. 0 0
   at 7 % si m pl e

P u niti v e D a m a g e s                                                                                                                            $ 5 0 0, 0 0 0. 0 0

C o st s:                                                                                                                                            $ 1 8 1, 1 4 4. 7 2

Gr o s s A m o u nt b ef or e off s et f or S c hr ei b er/ M a x w ell S ettl e m e nt s                                                       $ 2 3, 5 7 8, 4 0 4. 0 7


L e s s:    Off s et f or m o ni e s r e c ei v e d vi a s ettl e m e nt s                                                                        - $ 2, 0 3 1, 7 8 0. 0 0

T O T A L D U E O N E N T R Y O F J U D G M E N T ( 1 0/ 2 0/ 2 0 2 1)                                                                     $ 2 1, 5 4 6, 6 2 4. 0 7

D ail y p o st-j u d g m e nt i nt er e st ( 1 0 % si m pl e)                                                            $ 5, 9 0 3. 1 8

A c c u m ul at e d I nt er e st d u e o n j u d g m e nt                                         A m o u nt a s of      3/ 9/ 2 0 2 2               $ 8 2 6, 4 4 5. 8 5



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  t hr o u g h d at e of r e c ei pt of s ettl e m e nt p a y m e nt
U n p ai d j u d g m e nt a m o u nt pl u s i nt er e st                                             A m o u nt a s of        3/ 9/ 2 0 2 2   $ 2 2, 3 7 3, 0 6 9. 9 2


A P P LI C A TI O N O F $ 3, 5 0 0, 0 0 0 S E T T L E M E N T P A Y M E N T F R O M D R. M U R P H Y:

S ettl e m e nt P a y m e nt p er S ettl e m e nt A gr e e m e nt                                                                               $ 3, 5 0 0, 0 0 0. 0 0
( 1) Fir st, t o U ni q u e D a m a g e s p a y a bl e b y M ur p h y pl u s pr ej u d g m e nt i nt er e st t h er e o n p er j u d g m e nt :

D a m a g e s fr o m A pril 2 0 1 6 s h ar e h ol d er di stri b uti o n of $ 5 0 K                                                                         $ 5 0, 0 0 0. 0 0
    pl u s pr ej u d g m e nt i nt er e st t hr o u g h J ul y 1 2, 2 0 2 1 ( J u d g m e nt p. 4)                                                          $ 1 8, 0 8 4. 9 3
    pl u s pr ej u d g m e nt i nt er e st J ul y 1 3, 2 0 2 1 t hr o u g h O ct. 2 0, 2 0 2 1 ( J u d g m e nt p. 4):
                                                                          D ail y A m t               St art             J u d g m e nt
D ail y I nt er e st t hr o u g h J u d g m e nt at 7 % si m pl e                   $ 9. 5 9           7/ 1 2/ 2 0 2 1 1 0/ 2 0/ 2 0 2 1                         $ 9 5 9. 0 0
                                                                                                                       S u bt ot al                         $ 6 9, 0 4 3. 9 3

P u niti v e D a m a g e s p a y a bl e b y Dr. M ur p h y                                                                                               $ 5 0 0, 0 0 0. 0 0

                T ot al of D a m a g e s U ni q u e t o M ur p h y pl u s pr ej u d g m e nt i nt er e st =                                              $ 5 6 9, 0 4 3. 9 3

( 2) S e c o n d, t o P o st- J u d g m e nt I nt er e st o n D a m a g e s U ni q u e t o M ur p hy

D ail y p o st-j u d g m e nt i nt er e st ( 1 0 % si m pl e) o n        $ 5 6 9, 0 4 3. 9 3                $ 1 5 5. 9 0

A c c u m ul at e d p o st-j u d g m e nt i nt er e st o n d a m a g e s u ni q u e t o M ur p h y
  t hr o u g h d at e of r e c ei pt of M ur p h y s ettl e m e nt p a y m e nt                                               3/ 9/ 2 0 2 2                 $ 2 1, 8 2 6. 3 4


( M ur p h y U ni q u e D a m a g e s pl u s I nt er e st t h er e o n) t hr u 3/ 9/ 2 2              $ 5 9 0, 8 7 0. 2 7

( 3) T hir d, t o I nt er e st Diff er e nti al P a y a bl e S ol el y b y Dr. M ur p h y, b ut n ot b y M a a g/ S CR
    d u e t o M a a g/ S C R B a n kr u pt c y Fili n g s o n J a n 1 2, 2 0 22

T ot al p o st-j u d g m e nt i nt er e st p a y a bl e b y Dr. M ur p h y t hr u 3/ 9/ 2 0 2 2                                                          $ 8 2 6, 4 4 5. 8 5
L e s s a m o u nt of p o st-j u d g m e nt i nt er e st r el at e d t o d a m a g e s u ni q u e t o M ur p h y                                          - $ 2 1, 8 2 6. 3 4
       T ot al p o st-j u d g m e nt i nt er e st p a y a bl e b y M ur p h y o n j oi nt a n d s e v er al li a bilit y d a m a g es                    $ 8 0 4, 6 1 9. 5 1

M a a g: P o st-j u d g m e nt I nt er e st o n j oi nt a n d s e v er al li a blit y it e m s (i. e. e x cl u di n g p u niti v e d a m a g e s)

      C o m p e n s at or y d a m a g e s pl u s pr e-j u d g m e nt i nt er e st                 $ 2 2, 8 2 8, 2 1 5. 4 2
      C o st s                                                                                       $ 1 8 1, 1 4 4. 7 2
      Off s et f or m o ni e s r e c' d fr o m S c hr ei b er/ M a x w ell                        - $ 2, 0 3 1, 7 8 0. 0 0
                                                                    S u bt ot al                 $ 2 0, 9 7 7, 5 8 0. 1 4

D ail y p o st-j u d g m e nt i nt er e st ( 1 0 % si m pl e) o n a b o v e s u bt ot al::               $ 5, 7 4 7. 2 8

A c c u m ul at e d p o st-j u d g m e nt i nt er e st d u e fr o m M a a g     o n c o m p e n s at or y
d a m a g e s a n d c o st s (i. e. e x cl p u niti v e d a m a g e s) t hr u    1/ 1 1/ 2 0 2 2 b y virt u e of b a n kr u pt c y                       $ 4 7 7, 0 2 4. 4 3
                 U ni q u e i nt er e st p a y a bl e b y Dr. M ur p h y         o n j oi nt a n d s e v er al a m o u nt s =                            $ 3 2 7, 5 9 5. 0 9
                 ( d u e t o a d diti o n al t w o m o nt h s of i nt er e st   d u e a s t o Dr. M ur p h y)

P orti o n s of M ur p h y s ettl e m e nt p a y m e nt n ot attri b ut a bl e t o M a a g j u d g m e nt a s a n off s et:                              $ 9 1 8, 4 6 5. 3 6




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N E T J U D G M E N T A G AI N S T M A A G A F T E R M U R P H Y S E T T L E M E N T C R E DI T:                     $ 1 9, 1 7 9, 8 9 1. 8 4




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 1   D O N A L D L. C O R N W E L L, E S Q. ( S B N 0 8 1 6 9 7)
     L A W O F FI C E S O F D O N A L D L. C O R N W E L L, P C
 2   1 1 7 6 6 Wils hir e B o ul e v ar d, S uit e 7 0 0
     L os A n g el es, C A 9 0 0 2 5
 3   ( 3 1 0) 8 2 0- 1 7 2 3

 4   J U DI T H M. S A S AKI ( S B N 1 1 9 4 4 2)
     C O L E M A N & H O R O WI T T, L L P
 5   1 8 8 0 C e nt ur y P ar k E ast, S uit e 4 0 4
     L os A n g el es, C A 9 0 0 6 7
 6   ( 3 1 0) 2 8 6- 0 2 3 3

 7   Att or n e y f or Pl ai ntiffs
     L OI S F RI E D M A N a n d J A R E D S T EI N
 8
     DI A N A F RI E D L A N D ( S B N 2 5 8 1 8 9)
 9   B E R N S T EI N & F RI E D L A N D, P. C.
     1 6 0 0 0 V e nt ur a B o ul e v ar d, S uit e 1 0 0 0
10   E n ci n o, C alif or ni a 9 1 4 3 6
     ( 8 1 8) 8 1 7- 7 5 7 0
11
     Att or n e ys f or D ef e n d a nt a n d Cr oss- C o m pl ai n a nt
12   S O U T H W E S T E R N R E S E A R C H, I N C.

13                                       S U P E RI O R C O U R T O F T H E S T A T E O F C A LI F O R NI A

14                                                       F O R T H E C O U N T Y OF L OS A N G E L ES
15   L OI S F RI E D M A N, T R U S T E E of T H E D E N NI S                              C A S E N O. S C 1 2 1 1 2 8
16   M U NJ A C K I N T E R VI V O S T R U S T, et al ,                                    ( C o ns oli d at e d wit h M a a g v. S o ut h w est er n
                                                                                           R es e ar c h, I n c. , C as e N o. B C 6 0 7 0 2 7)
17                                             Pl ai ntiffs,                               H o n. H u e y C ott o n – D e pt A V a n N u ys

18               v.                                                                        [ Pr o p os e d] C O U R T J U D G M E N T B Y D E F A U L T
                                                                                           A N D S TI P U L A TI O N F O R E N T R Y O F
19
     J O H N M U R P H Y, M. D., a n i n di vi d u al; et al ,                             J U D G M E N T O N T H E FI R S T A N D S E C O N D
20                                                                                         C A U S E S O F A C TI O N
                                          D ef e n d a nts.
21

22   D A R R E L L M A A G, a n i n di vi d u a l,

23                                        Pl ai ntiff,
                 vs.
24
     S O U T H W E S T E R N R E S E A R C H, I N C., a
25   C alif or ni a C or p or ati o n, a n d D O E S 1 - 5 0, i n cl usi v e,

26                                        D ef e n d a nts .

27

28

                                                                                       1
                                  C O U R T J U D G M E N T B Y D E F A U L T 6 AofN 5D8 S TI P U L A TI O N F O R E N T R Y O F J U D G M9:E2 N2-TB K- 1 0 0 2EXHIBIT
     S O U T H W E S T E R N R E S E A R C H, I N C.
                                                                                                                                                                 A
                                                                                                                                                               3- D S
     P R O O F O F C L AI M -- E X HI BI T S                                                                                                               Page 35
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 1               Pl ai ntiffs L ois Fri e d m a n a n d J ar e d St ei n fil e d t h e C o m pl ai nt i n Fri e d m a n v. M ur p h y, et al , w hi c h

 2   pri n ci p all y ass ert e d s h ar e h ol d er d eri v ati v e cl ai ms o n b e h alf of D ef e n d a nt a n d R e al P art y i n I nt er est

 3   S o ut h w est er n R es e ar c h, I n c. ( “ S RI ”) , o n A u g ust 6, 2 0 1 3. E a c h d ef e n d a nt w as pr o p erl y s er v e d wit h a

 4   c o p y of t h e s u m m o ns a n d c o m pl ai nt a n d a p p e ar e d i n t h e a cti o n. Pl ai ntiff s’ c urr e ntl y o p er ati v e c o m pl ai nt,

 5   t h e Fift h A m e n d e d C o m pl ai nt, w as fil e d o n J ul y 1 9, 2 0 1 9. E a c h d ef e n d a nt w as pr o p erl y s er v e d wit h a

 6   c o p y t h e Fift h A m e n d e d C o m pl ai nt a n d fil e d a n a ns w er t o t h e s a m e.

 7               D ef e n d a nt D arr ell M a a g fil e d a s e p ar at e a cti o n , e ntitl e d D arr ell M a a g v. S o ut h w est er n R es e ar c h,

 8   I n c., o n J a n u ar y 1 5, 2 0 1 6. S RI, t h e s ol e d ef e n d a nt i n t h at a cti o n, w as pr o p erl y s er v e d wit h t h e s u m m o ns

 9   a n d c o m pl ai nt a n d fil e d a n a ns w er t o t h e C o m pl ai nt a n d a Cr oss- c o m pl ai nt a g ai nst D arr ell M a a g o n

10   Ma y     2 0, 2 0 1 6.       D arr ell M a a g fil e d a n a ns w er t o t h e Cr oss- c o m pl ai nt o n J u n e 2 4, 2 0 1 6.

11               T h e t w o a cti o ns w er e d e e m e d r el at e d c as es b y Or d er e nt er e d o n J a n u ar y 1 9, 2 0 1 7 a n d w er e f ull y

12   c o ns oli d at e d f or all p ur p os es b y Or d er of t h e C o urt d at e d A u g ust 4, 2 0 1 7.

13                 O n A u g ust 6, 2 0 2 0 t h e C o urt e nt er e d a Mi n ut e Or d er affir mi n g t h e R e p ort a n d R e c o m m e n d ati o n

14   of t h e Dis c o v er y R ef er e e (t h e H o n. P atri ci a C olli ns R et. ) t o gr a nt Pl ai ntiffs’ M oti o n f or t h e I m p ositi o n of

15   T er mi n ati n g S a n cti o ns a g ai nst D ef e n d a nt J o h n M ur p h y, M. D. P urs u a nt t o t h e fi n di n gs c o nt ai n e d i n t h at

16   Mi n ut e Or d er, o n S e pt e m b er 1 0, 2 0 2 0 t h e C o urt e nt er e d a n Or d er stri ki n g D ef e n d a nt M ur p h y’s A ns w er

17   t o t h e Fift h A m e n d e d C o m pl ai nt d at e d A u g ust 2 2, 2 0 1 9 a n d dir e ct e d t h e cl er k t o e nt er D ef e n d a nt

18   M ur p h y’s d ef a ult.

19                 O n F e br u ar y 2 3, 2 0 2 1, t h e C o urt e nt er e d a Mi n ut e Or d er gr a nti n g Pl ai ntiff L ois Fri e d m a n’s

20   M oti o n f or T er mi n ati n g S a n cti o ns a g ai nst D ef e n d a nts D arr ell M a a g a n d S o ut h er n C alif or ni a R es e ar c h,

21   L L C i n Fri e d m a n v. M ur p h y a n d a g ai nst Pl ai ntiff a n d Cr oss- D ef e n d a nt D arr ell M a a g i n M a a g v.

22   S o ut h w est er n R es e ar c h, I n c., i n w hi c h m oti o n D ef e n d a nt a n d Cr oss- C o m pl ai n a nt S o ut h w est er n

23   R es e ar c h, I n c. j oi n e d. B y Or d er e nt er e d M ar c h 8, 2 0 2 1, p urs u a nt t o t h e fi n di n gs c o nt ai n e d i n t h e C o urt’s

24   Mi n ut e Or d er d at e d         F e br u ar y 2 3, 2 0 2 1, t h e A ns w er t o t h e Fift h A m e n d e d C o m pl ai nt i n Fri e d m a n v.

25   M ur p h y, w hi c h w as fil e d b y D ef e n d a nts D arr ell M a a g a n d S o ut h er n C alif or ni a R es e ar c h, L L C o n

26   D e c e m b er 1 7, 2 0 1 9, w as or d er e d stri c k e n fr o m t h e r e c or d, a n d t h e cl er k w as dir e ct e d t o e nt er t h e d ef a ults

27   of D ef e n d a nts M a a g a n d S o ut h er n C alif or ni a R es e ar c h, L L C i n Fri e d m a n v. M ur p h y. Si mil arl y, p urs u a nt

28   t o t h e fi n di n gs c o nt ai n e d i n t h e C o urt’s Mi n ut e Or d er d at e d F e br u ar y 2 3, 2 0 2 1, t h e C o m pl ai nt fil e d b y

                                                                                       2
                                  C O U R T J U D G M E N T B Y D E F A U L T 7 AofN 5D8 S TI P U L A TI O N F O R E N T R Y O F J U D G M9:E2 N2-TB K- 1 0 0 2EXHIBIT
     S O U T H W E S T E R N R E S E A R C H, I N C.
                                                                                                                                                                 A
                                                                                                                                                               3- D S
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 1   Pl ai ntiff D arr ell M a a g i n M a a g v. S o ut h w est er n R es e ar c h, I n c., w hi c h w as fil e d o n J a n u ar y 1 5, 2 0 1 6, w as

 2   or d er e d dis miss e d b as e d u p o n t h e t er mi n ati n g s a n cti o ns i m p os e d b y t h e C o urt. P urs u a nt t o t h e s a m e

 3   Mi n ut e Or d er, t h e a ns w er of Cr oss- D ef e n d a nt D arr ell M a a g d at e d J u n e 2 4, 2 0 1 6 t o t h e Cr oss- C o m pl ai nt

 4   fil e d b y S o ut h w est er n R es e ar c h, I n c. i n M a a g v. S o ut h w est e r n R es e ar c h, I n c. w as or d er e d stri c k e n fr o m

 5   t h e r e c or d a n d t h e cl er k w as dir e ct e d t o e nt er t h e d ef a ult of Cr oss- D ef e n d a nt D arr ell M a a g o n t h e Cr oss-

 6   C o m pl ai nt i n M a a g v. S o ut h w est er n R es e ar c h, I n c.

 7                 B y Mi n ut e Or d er d at e d F e br u ar y 2 3, 2 0 2 1, Pl ai ntiff L ois Fri e d m a n’s t hirt e e nt h c a us e of a cti o n f or

 8   Ci vil T h eft/ R e c ei vi n g or C o n c e al m e nt of St ol e n Pr o p ert y ( P e n al C o d e § 4 9 6) w as dis miss e d wit h

 9   pr ej u di c e b y t h e C o urt. O n O ct o b er 7, 2 0 2 1 Pl ai ntiff L ois Fri e d m a n dis miss e d wit h pr ej u di c e h er t w elft h

10   c a us e of a cti o n a g ai nst D ef e n d a nt J o h n M ur p h y f or E q uit a bl e A c c o u nti n g.

11               D ef e n d a nts M a x w ell & C o m p a n y C P As, I n c., Willi a m M a x w ell, E d wi n C. S c hr ei b er, S c hr ei b er

12   & S c hr ei b er, I n c., w h o w er e all e g e d i n Pl ai ntiffs’ Fift h A m e n d e d C o m pl ai nt t o b e j oi ntl y a n d s e v er all y

13   li a bl e t o S RI al o n g wit h t h e ot h er d ef e n d a nts, h a v e e nt er e d i nt o s ettl e m e nts wit h Pl ai ntiffs a n d S RI,

14   w hi c h w er e a p pr o v e d b y t h e C o urt’s Or d er e nt er e d M a y 1 2, 2 0 2 1. T h e s ettli n g d ef e n d a nts c oll e cti v el y

15   p ai d t h e s u m of $ 2, 0 3 1, 7 8 0. 0 0 t o S RI wit h r es p e ct t o t h e s h ar e h ol d er d eri v ati v e cl ai ms a n d s u bs e q u e ntl y

16   h a v e b e e n dis miss e d fr o m t h e c as e wit h pr ej u di c e.

17                                   E nt r y Of D ef a ult J u d g m e nt A g ai nst t h e R e m ai ni n g D ef e n d a nts

18               P U R S U A N T T O C O D E O F CI VI L P R O C E D U R E § 5 8 5 ( B), t h e C o urt h as c o nsi d er e d t h e

19   s h ar e h ol d er d eri v ati v e all e g ati o ns of t h e Fift h A m e n d e d C o m pl ai nt i n Fri e d m a n v. M ur p h y (t h e t hir d

20   t hr o u g h fift e e nt h c a us es of a cti o n) a n d t h e Cr oss-c o m pl ai nt i n M a a g v. S o ut h w est er n R es e ar c h, I n c.,

21   w hi c h ar e d e e m e d a d mitt e d a n d est a blis h e d as t o e a c h d ef a ult e d d ef e n d a nt or cr oss -d ef e n d a nt, t h e iss u e

22   s a n cti o ns i m p os e d a g ai nst D ef e n d a nts D arr ell M a a g a n d S o ut h er n C alif or ni a R es e ar c h L L C p urs u a nt t o

23   t h e C o urt’s Or d er d at e d N o v e m b er 1 4, 2 0 1 9, t h e wri tt e n d e cl ar ati o ns a n d e x hi bits s u b mitt e d b y Pl ai ntiff

24   L ois Fri e d m a n a n d Cr oss- c o m pl ai n a nt S RI p urs u a nt t o C o d e of Ci vil Pr o c e d ur e § 5 8 5( d), a s w ell as t h e

25   t esti m o n y a n d ot h er e vi d e n c e pr o vi d e d t o t his C o urt i n c o n n e cti o n wit h t h e d ef a ult pr o v e- u p pr o c e e di ng

26   a g ai nst D ef e n d a nts J o h n M ur p h y, M. D., D arr ell M a a g a n d S o ut h er n C alif or ni a R es e ar c h, L L C. B as e d

27   u p o n t h e a d missi o ns of e a c h d ef e n d a nt, t h e iss u e s a n cti o ns pr e vi o usl y i m p os e d, a n d t h e e vi d e n c e

28   s u b mitt e d t o t h e C o urt, it is H E R B Y O R D E R E D, A D J U D G E D A N D D E C R E E D t h at j u d g m e nt is

                                                                                       3
                                  C O U R T J U D G M E N T B Y D E F A U L T 8 AofN 5D8 S TI P U L A TI O N F O R E N T R Y O F J U D G M9:E2 N2-TB K- 1 0 0 2EXHIBIT
     S O U T H W E S T E R N R E S E A R C H, I N C.
                                                                                                                                                                 A
                                                                                                                                                               3- D S
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 1   e nt er e d i n f a v or of t h e r e al p art y i n i nt er est S o ut h w est er n R es e ar c h, I n c ( “ S RI ”) a n d s h ar e h ol d er

 2   d eri v ati v e Pl ai ntiff L ois Fri e d m a n, a n d a g ai nst D ef e n d a nts J o h n M ur p h y, M. D. ( “ M ur p h y ”), D arr ell

 3   M a a g ( “ M a a g ”), a n d S o ut h er n C alif or ni a R es e ar c h, L L C, a C alif or ni a li mit e d li a bilit y c o m p a n y ( “ S C R ”)

 4   as f oll o ws:

 5               1.      C o m p e ns at or y D a m a g es A g ai nst J o h n M ur p h y, D arr ell M a a g A n d S C R , J oi ntl y A n d

 6                       S e v er all y ( Or Alt er n ati v el y, R estit uti o n A n d Dis g or g e m e nt A w ar ds J oi ntl y a n d S e v er all y):

 7                       A. C o m p e ns at or y D a m a g es .

 8               Wit h r es p e ct t o t h e c a us es of a cti o n f or d a m a g es ass ert e d a g ai nst D ef e n d a nts               M ur p h y, M a a g a n d

 9   S C R i n Fri e d m a n v. M ur p h y a n d a g ai nst Cr oss-D ef e n d a nt M a a g i n M a a g v. S o ut h w est er n R es e ar c h, I n c.,

10   M ur p h y, M a a g a n d S C R s h all j oi ntl y a n d s e v er all y p a y as d a m a g es t o S RI t h e a g gr e g at e a m o u nt of

11   $ 9, 4 2 2, 6 5 4. 7 3, w hi c h r e pr es e nts S RI’s l ost pr ofit d a m a g es fr o m 2 0 1 3 t hr o u g h 2 0 1 6 a n d S RI’s d a m a g es

12   fr o m t h e l ost s al e v al u e of S RI as a g oi n g c o n c er n, pl us $ 3, 3 2 6, 7 2 3. 7 8 i n pr ej u d g m ent i nt er est at t h e r at e

13   of 7 % (si m pl e i nt er est) p er a n n u m t hr o u g h J ul y 1 2, 2 0 2 1, a n d $ 1, 8 0 7. 0 8 p er d a y i n d ail y i nt er est aft er

14   J ul y 1 2, 2 0 2 1 t h o u g h t h e d at e of j u d g m e nt.

15               I n a d diti o n, M ur p h y a n d M a a g s h all j oi ntl y a n d s e v er all y p a y as d a m a g es t o S RI t h e a dditi o n al

16   a m o u nt of $ 5, 6 8 8, 2 3 5. 7 6 r e pr es e nti n g S RI’s d a m a g es r el at e d t o t h e u n a ut h ori z e d c o m p e ns ati o n a n d

17   p a y m e nts r e c ei v e d b y M ur p h y a n d M a a g b et w e e n 2 0 0 8 a n d 2 0 1 5, pl us $ 4, 0 9 9, 4 1 0. 1 5 i n pr ej u d g m e nt

18   i nt er est t h er e o n at t h e r at e of 7 % (si m pl e i nt er est) p er a n n u m t hr o u g h J ul y 1 2, 2 0 2 1, a n d $ 1, 1 0 4. 8 3 p er

19   d a y i n d ail y i nt er est aft er J ul y 1 2, 2 0 2 1 t h o u g h t h e d at e of j u d g m e nt.

20               I n a d diti o n t o t h e a b o v e d a m a g es f or w hi c h t h e list e d d ef e n d a nts ar e j oi ntl y a n d s e v er all y li a bl e,

21   D ef e n d a nt M ur p h y s h all s e p ar at el y p a y t o S RI t h e s u m of $ 5 0, 0 0 0 i n d a m a g es wit h r es p e ct t o t h e

22   s h ar e h ol d er distri b uti o n m a d e t o Dr. M ur p h y d uri n g A pril 2 0 1 6 b as e d u p o n t h e f als e r e pr es e nt ati o ns h e

23   m a d e t o t h e B o ar d of Dir e ct ors a n d his f ail ur e t o r et ur n t h e distri b uti o n aft er it w as r es ci n d e d b y t h e

24   B o ar d of Dir e ct ors , pl us $ 1 8, 0 8 4. 9 3 i n pr ej u d g m e nt i nt er est t h er e o n at t h e r at e of 7 % (si m pl e i nt er est) p er

25   a n n u m t hr o u g h J ul y 1 2, 2 0 2 1, a n d $ 9. 5 9 p er d a y i n d ail y i nt er est aft er J ul y 1 2, 2 0 2 1 t h o u g h t h e d at e of

26   j u d g m e nt, pl us p u niti v e d a m a g es a n d costs as h er ei n aft er s p e cifi e d .

27               E a c h D ef e n d a nt’s t ot al li a bilit y is r e d u c e d b y $ 2, 0 3 1, 7 8 0. 0 0 r e pr es e nti n g t h e a g gr e g at e a m o u nt of

28   s ettl e m e nt p a y m e nts r e c ei v e d b y S RI fr o m t h e s ettli n g d ef e n d a nts.

                                                                                       4
                                  C O U R T J U D G M E N T B Y D E F A U L T 9 AofN 5D8 S TI P U L A TI O N F O R E N T R Y O F J U D G M9:E2 N2-TB K- 1 0 0 2EXHIBIT
     S O U T H W E S T E R N R E S E A R C H, I N C.
                                                                                                                                                                 A
                                                                                                                                                               3- D S
     P R O O F O F C L AI M -- E X HI BI T S                                                                                                               Page 38
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 1                        B. R estit uti o n / Dis g or g e m e nt.

 2                    Wit h r es p e ct t o t h e ni nt h c a us e of a cti o n f or u nf air c o m p etiti o n i n Fri e d m a n v. M ur p h y, a n d t h e

 3   t hir d c a us e of a cti o n f or u nf air c o m p etiti o n a g ai nst Cr oss-D ef e n d a nt M a a g i n M a a g v. S o ut h w est er n

 4   R es e ar c h, I n c ., D ef e n d a nts M ur p h y a n d M a a g s h all j oi ntl y a n d s ev er all y p a y r estit uti o n or dis g or g e m e nt

 5   t o S RI i n t h e s u m of $ 5, 6 8 8, 2 3 5. 7 6, r e pr es e nti n g t h e u n a ut h ori z e d c o m p e ns ati o n a n d p a y m e nts r e c ei v e d

 6   b y M ur p h y a n d M a a g fr o m S RI b et w e e n 2 0 0 8 a n d 2 0 1 5, pl us $ 4, 0 9 9, 4 1 0. 1 5 i n pr ej u d g m e nt i nt er est

 7   t h er e o n at t h e r at e of 7 % (si m pl e i nt er est) p er a n n u m t hr o u g h J ul y 1 2, 2 0 2 1, a n d $ 1, 1 0 4. 8 3 p er d a y i n

 8   d ail y i nt er est aft er J ul y 1 2, 2 0 2 1 t h o u g h t h e d at e of j u d g m e nt.

 9               I n a d diti o n, D ef e n d a nt M ur p h y s h all s e p ar at el y p a y t o S RI t h e s u m of $ 5 0, 0 0 0 i n r estit uti o n a n d

10   dis g or g e m e nt wit h r es p e ct t o t h e s h ar e h ol d er distri b uti o n m a d e t o Dr. M ur p h y d uri n g A pril 2 0 1 6 b as e d

11   u p o n t h e f als e r e pr es e nt ati o ns h e m a d e t o t h e B o ar d of Dir e ct ors a n d his f ail ur e t o r et ur n t h e distri b uti o n

12   aft er it w as r es ci n d e d b y t h e B o ar d of Dir e ct ors, pl us $ 1 8, 0 8 4. 9 3 i n pr ej u d g m e nt i nt er est t h er e o n at t h e

13   r at e of 7 % (si m pl e i nt er est) p er a n n u m t hr o u g h J ul y 1 2, 2 0 2 1, a n d $ 9. 5 9 p er d a y i n d ail y i nt er est aft er

14   J ul y 1 2, 2 0 2 1 t h o u g h t h e d at e of j u d g m e nt.

15               T h es e a w ar d s of r estit uti o n d o n ot i n cr e as e t h e t ot al m o n et ar y a w ar d a g ai nst D ef e n d a nt s M ur p h y,

16   M a a g a n d S C R d es cri b e d i n s u b p ar a gr a p h 1( A) a n d ar e a n alt er n ati v e m e as ur e of r e c o v er y t o t h e

17   d a m a g es s p e cifi e d i n s u b p ar a gr a p h 1( A) a b o v e).

18               2.       C o m p e ns at or y D a m a g e T ot als as t o E a c h D ef e n d a nt

19               I n li g ht of t h e fi n di n gs of j oi nt a n d s e v er al li a bilit y st at e d i n p ar a gr a p h o n e a b o v e, t h e i n di vi d u al

20   li a biliti es of D ef e n d a nts M ur p h y, M a a g a n d S C R f or c o m p e ns at or y d a m a g es ar e as f oll o ws:

21                       A. D ef e n d a nt J o h n M ur p h y, M. D.

22                 D ef e n d a nt J o h n M ur p h y, M. D. s h all p a y t o S RI as d a m a g es t h e s u m of $ 2 2, 6 0 5, 1 0 9. 3 5, i n cl u di n g

23   pr ej u d g m e nt i nt er est at t h e r at e of 7 % (si m pl e i nt er est) p er a n n u m t hr o u g h J ul y 1 2, 2 0 2 1, a n d $ 2, 9 2 1. 5 0

24   p er d a y i n d ail y i nt er est aft er J ul y 1 2, 2 0 2 1 t h o u g h t h e d at e of j u d g m e nt, t o g et h er wit h p u niti v e d a m a g es

25   a n d c osts as h er e aft er s p e cifi e d . T h e t ot al a m o u nt t o b e p ai d t o S RI as of t h e d at e of J u d g m e nt s h all b e

26   r e d u c e d b y $ 2, 0 3 1, 7 8 0. 0 0 r e pr es e nti n g t h e a g gr e g at e a m o u nt of s ettl e m e nt p a y m e nts r e c ei v e d b y S RI

27   fr o m t h e s ettli n g d ef e n d a nts.

28                       B. D ef e n d a nt a n d Cr oss- D ef e n d a nt D arr ell M a a g

                                                                                        5
                                  C O U R T J U D G M E N T B Y D E F A U L T1 0 A ofN D5 8 S TI P U L A TI O N F O R E N T R Y O F J U D G M9:E2 N2-TB K- 1 0 0 2EXHIBIT
     S O U T H W E S T E R N R E S E A R C H, I N C.
                                                                                                                                                                   A
                                                                                                                                                                  3- D S
     P R O O F O F C L AI M -- E X HI BI T S                                                                                                                 Page 39
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 1               D ef e n d a nt D arr ell M a a g s h all p a y t o S RI as d a m a g es t h e s u m of $ 2 2, 5 3 7, 0 2 4. 4 2, i n cl u di n g

 2   pr ej u d g m e nt i nt er est at t h e r at e of 7 % (si m pl e i nt er est) p er a n n u m t hr o u g h J ul y 1 2, 2 0 2 1, a n d $ 2, 9 1 1 . 9 1

 3   p er d a y i n d ail y i nt er est aft er J ul y 1 2, 2 0 2 1 t h o u g h t h e d at e of j u d g m e nt, t o g et h er wit h p u niti v e d a m a g es

 4   a n d c osts as h er e aft er s p e cifi e d. T h e t ot al a m o u nt t o b e p ai d t o S RI as of t h e d at e of J u d g m e nt s h all b e

 5   r e d u c e d b y $ 2, 0 3 1, 7 8 0. 0 0 r e pr es e nti n g t h e a g gr e g at e a m o u nt of s ettl e m e nt p a y m e nts r e c ei v e d b y S RI

 6   fr o m t h e s ettli n g d ef e n d a nts.

 7                      C. D ef e n d a nt S o ut h er n C alif or ni a R es e ar c h, L L C

 8               D ef e n d a nt S C R i s or d er e d t o p a y t o S RI as d a m a g es t h e s u m of $ 1 2, 7 4 9, 3 7 8. 5 0, i n cl u di n g

 9   pr ej u d g m e nt i nt er est at t h e r at e of 7 % (si m pl e i nt er est) p er a n n u m t hr o u g h J ul y 1 2, 2 0 2 1, a n d $ 1, 8 0 7. 0 8

10   p er d a y i n d ail y i nt er est aft er J ul y 1 2, 2 0 2 1 t h o u g h t h e d at e of j u d g m e nt, t o g et h er wit h p u niti v e d a m a g es

11   a n d c osts as h er e aft er s p e cifi e d. T h e t ot al a m o u nt t o b e p ai d t o S RI as of t h e d at e of J u d g m e nt s h all b e

12   r e d u c e d b y $ 2, 0 3 1, 7 8 0. 0 0 r e pr es e nti n g t h e a g gr e g at e a m o u nt of s ettl e m e nt p a y m e nts r e c ei v e d b y S RI

13   fr o m t h e s ettli n g d ef e n d a nts.

14               3. D a m a g es i n C o n n e cti o n wit h N e gli g e n c e Cl ai ms .

15                 T h e d a m a g es s et f ort h i n P ar a gr a p hs 1 a n d 2 a b o v e i n cl u d e cl ai ms b as e d u p o n b ot h n e gli g e nt a n d

16   i nt e nti o n al c o n d u ct. T h e d a m a g es a w ar d e d f or n e gli g e nt c o n d u ct b y D ef e n d a nts M ur p h y, M a a g a n d

17   S C R , w hi c h ar e i n cl u d e d i n p ar a gr a p hs 1 a n d 2 a b o v e, ar e as f oll o ws:

18                       A. Wit h r es p e ct t o t h e t hir d c a us e of a ctio n f or n e gli g e n c e ass ert e d a g ai nst D ef e n d a nts M a a g

19                             a n d S C R i n Fri e d m a n v. M ur p h y, a n d t h e first c a us e of a cti o n f or n e gli g e n c e a g ai nst

20                             Cr oss -D ef e n d a nt M a a g i n M a a g v. S o ut h w est er n R es e ar c h, I n c. , D ef e n d a nts M a a g a n d

21                             S C R ar e or d er e d t o j oi ntl y a n d s e v er all y p a y as d a m a g es t o S RI t h e a g gr e g at e a m o u nt of

22                             $ 9, 4 2 2, 6 5 4. 7 3, r e pr es e nti n g S RI’s l ost pr ofit d a m a g es fr o m 2 0 1 3 t hr o u g h 2 0 1 6 a n d S RI’s

23                             d a m a g es fr o m t h e l ost s al e v al u e of S RI as a g oi n g c o n c er n, pl us $ 3, 3 2 6, 7 2 3. 7 8 i n

24                             pr ej u d g m e nt i nt er est at t h e r at e of 7 % ( si m pl e i nt er est) p er a n n u m t hr o u g h J ul y 1 2, 2 0 2 1,

25                             a n d $ 2, 9 2 1. 5 0 p er d a y i n d ail y i nt er est aft er J ul y 1 2, 2 0 2 1 t h o u g h t h e d at e of j u d g m e nt.

26                       B. Wit h r es p e ct t o t h e f o urt h c a us e of a cti o n f or n e gli g e nt a n d i nt e nti o n al br e a c h of fi d u ci ar y

27                             d ut y ass ert e d a g ai nst D ef e n d a nts M ur p h y a n d M a a g i n Fri e d m a n v. M ur p h y a n d t h e

28                             s e c o n d c a us e of a cti o n f or n e gli g e nt a n d i nt e nti o n al br e a c h of fi d u ci ar y d ut y ass ert e d

                                                                                        6
                                  C O U R T J U D G M E N T B Y D E F A U L T1 1 A ofN D5 8 S TI P U L A TI O N F O R E N T R Y O F J U D G M9:E2 N2-TB K- 1 0 0 2EXHIBIT
     S O U T H W E S T E R N R E S E A R C H, I N C.
                                                                                                                                                                   A
                                                                                                                                                                  3- D S
     P R O O F O F C L AI M -- E X HI BI T S                                                                                                                 Page 40
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 1                             a g ai nst Cr oss- D ef e n d a nt M a a g i n M a a g v. S o ut h w est er n R es e ar c h, I n c., M ur p h y a n d

 2                             M a a g ar e or d er e d t o j oi ntl y a n d s e v er all y p a y as d a m a g es t o S RI t h e a g gr e g at e a m o u nt of

 3                             $ 1 5, 1 1 0, 8 9 0. 4 9, pl us $ 7, 4 2 6, 1 3 3. 9 3 i n pr ej u d g m e nt i nt er est at t h e r at e of 7 % (si m pl e

 4                             i nt er est) p er a n n u m t hr o u g h J ul y 1 2, 2 0 2 1, a n d $ 2, 9 2 1. 5 0 p er d a y i n d ail y i nt er est aft er

 5                             J ul y 1 2, 2 0 2 1 t h o u g h t h e d at e of j u d g m e nt.

 6               4. P u niti v e D a m a g es

 7                Pl ai ntiff L ois Fri e d m a n a n d Cr oss-C o m pl ai n a nt S RI h a v e est a blis h e d b y cl e ar a n d c o n v i n ci n g

 8   e vi d e n c e t h at D ef e n d a nts a n d Cr oss- D ef e n d a nts M ur p h y, M a a g a n d S C R h a v e b e e n g uilt y of o p pr essi o n,

 9   fr a u d or m ali c e t o w ar d S RI a n d S RI’s s h ar e h ol d er d eri v ati v e pl ai ntiff, T h e D e n nis M u nj a c k I nt er Vi v os

10   Tr ust ( “t h e Tr ust ”). B y virt u e t h er e of, a n d t h e fi n di n gs m a d e o n t h e r e c or d o n O ct o b er 5, 2 0 2 1, p u niti v e

11   or e x e m pl ar y d a m a g es ar e i m p os e d i n f a v or of S RI a n d a g ai nst t h e d ef e n d a nts i n t h e f oll o wi n g a m o u nts:

12                P u niti v e D a m a g es a g ai nst J o h n M ur p h y, M. D. i n t h e a m o u nt of $ 5 0 0, 0 0 0

13               P u niti v e D a m a g es a g ai nst D arr ell M a a g i n t h e a m o u nt of $ 3 0 0, 0 0 0

14                P u niti v e D a m a g es a g ai nst S o ut h er n C alif or ni a R es e ar c h, L L C i n t h e a m o u nt of $ 4 4, 0 0 0

15               5. C osts

16                 D ef e n d a nts M ur p h y, M a a g a n d S C R s h all j oi ntl y a n d s e v er all y p a y c osts t o S RI (i n cl u di n g b ot h

17   t h e c osts i n c urr e d b y S RI dir e ctl y a n d t h e c osts i n c urr e d b y s h ar e h ol d er d eri v ati v e pl ai ntiff L ois

18   Fri e d m a n i n Fri e d m a n v. M ur p h y) i n t h e a g gr e g at e a m o u nt of $ 1 8 1, 1 4 4. 7 2.

19               6. Pri n ci p al A m o u nt of J u d g m e nt I n F a v or of S RI A n d A g ai nst E a c h D ef a ult e d D ef e n d a nt

20                 B as e d u p o n t h e f or e g oi n g, i n cl u di n g t h e r e d u cti o n i n t h e a m o u nt of t h e j u d g m e nt b y

21   $ 2, 0 3 1, 7 8 0. 0 0 r es ulti n g fr om t h e pr e vi o us s ettl e m e nts r e c ei v e d b y S RI, j u d g m e nt is e nt er e d f a v or of

22   S o ut h w est er n R es e ar c h, I n c. a n d a g ai nst e a c h of t h e d ef a ult e d d ef e n d a nts, as f oll o ws:

23                J o h n M ur p h y, M. D.: $ _ _2_1,_ _5 _4 _6,_6_ 2_ 4._ _0 _7 _ _ _ _ _ _

24                 D arr ell M a a g: $ _ _ _2 _1,_2_ 7_ 7,_ _5 _8 _0._ 1_ 4_ _ _ _ _ _ _ _

25                S o ut h er n C alif or ni a R es e ar c h, L L C: $ _ _1_1,_ _1 _2 _3,_ 4_ 5_ 1._ _2 _2 _ _ _ _ _ _ _ _ _

26               7. J u d g m e nt f or U n p ai d S a n cti o ns P a y a bl e t o t h e D e n nis M u nj a c k I nt er Vi v os Tr ust

27                 T h e C o urt, b y Or d er e nt er e d M ar c h 2 9, 2 0 2 1, a w ar d e d m o n et ar y s a n cti o ns t o b e p ai d t o t h e Tr ust

28   i n t h e a m o u nt of $ 4, 2 0 0 j oi ntl y a n d s e v er all y a g ai nst D ef e n d a nts M a a g a n d S C R. T h e s a n cti o ns w er e

                                                                                              7
                                  C O U R T J U D G M E N T B Y D E F A U L T1 2 A ofN D5 8 S TI P U L A TI O N F O R E N T R Y O F J U D G M9:E2 N2-TB K- 1 0 0 2EXHIBIT
     S O U T H W E S T E R N R E S E A R C H, I N C.
                                                                                                                                                                   A
                                                                                                                                                                  3- D S
     P R O O F O F C L AI M -- E X HI BI T S                                                                                                                 Page 41
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 1   or d er e d p a y a bl e at t h e e n d of t h e c as e. T h us, i n a d diti o n t o t h e j u d g m e nt a m o u nts p a y a bl e t o S RI, t h e

 2   C o urt a w ar ds t h e s a n cti o ns a m o u nt of $ 4, 2 0 0. 0 0 as d a m a g es i n f a v or of t h e Tr ust j oi ntl y a n d s e v er all y

 3   a g ai nst D ef e n d a nts D arr ell M a a g a n d S o ut h er n C alif or ni a R e s e ar c h, I n c.

 4               8. P ost- J u d g m e nt I nt er est

 5                P urs u a nt t o C. C. P. § 6 8 5. 0 1 0, t h e u n p ai d pri n ci p al a m o u nts of t h e j u d g m e nt a g ai nst e a c h

 6   d ef e n d a nt s et f ort h a b o v e s h all b e ar i nt er est at t h e r at e of 1 0 p er c e nt ( 1 0 %) p er a n n u m u ntil t h e j u d g m e nt

 7   is f ull y s atisfi e d.

 8               9. C o nstr u cti v e Tr ust / E q uit a bl e Li e n o n Pr o p ert y P ur c h as e d wit h C o n v ert e d F u n ds

 9                 D uri n g t h e s e c o n d p h as e of t h e d ef a ult pr o v e- u p pr oc e e di n gs , Pl ai ntiff Fri e d m a n a n d S RI

10   pr es e nt e d cl e ar a n d c o n vi n ci n g e vi d e n c e t h at Dr. M ur p h y a n d Mr. M a a g e a c h k n o wi n gl y us e d a

11   s u bst a nti al a m o u nt of f u n ds w hi c h t h e y h a d u nl a wf ull y c o n v ert e d fr o m S RI i n or d er t o p ur c h as e r e al

12   pr o p ert y f or t h e ms el v es a n d t h eir s p o us es or r el at e d b usi n ess e ntiti es a n d, b y virt u e t h er e of, S RI h as a

13   c o nstr u cti v e tr ust or e q uit a bl e li e n u p o n s u c h r e al pr o p ert y p ur c h as e d b y D ef e n d a nts M ur p h y a n d M a a g

14   as f oll o ws:

15                     A. 1 3 0 0 S E M a c art h ur B o ul e v ar d, St u art F L 3 4 9 9 6

16                 O n M ar c h 3 1, 2 0 1 0, J o h n M ur p h y a n d his wif e, Ki m b erl y M ur p h y , w hil e d o mi cil e d i n C alif or ni a,

17   p ur c h as e d a r esi d e nti al pr o p ert y l o c at e d at 1 3 0 0 S E M a c art h ur B o ul e v ar d, St u art F L 3 4 9 9 6. T h e l e g al

18   d es cri pti o n of t h at pr o p ert y is:

19               L ots 5 8 & 5 9,         Y A C H T C L U B B E A C H, a c c or di n g t o t h e pl at t h er e of as r e c or d e d i n Plat
                 B o o k 5, P a g e       4 2, p u bli c r e c or ds of P al m B e a c h ( N o w M arti n) C o u nt y, Fl ori d a; l ess a n d
20               e x c e pti n g t h at   p orti o n of L ots 5 8 & 5 9 l yi n g E ast of t h e p h ysi c al c e nt erli n e of M a c a rt h ur
                 Bl v d, a n d l ess      a n d e x c e pti n g t h e ri g ht of wa y f or s ai d M ac art h ur Bl v d.
21

22                 Dr. M ur p h y p ai d $ 1, 4 5 5, 0 0 0 f or t h e h o m e a n d t h e art w or k a n d p ers o n al pr o p ert y s ol d wit h t h e

23   h o m e a n d r el at e d cl osi n g c osts . Dr. M ur p h y m a d e a d o w n p a y m e nt of $ 7 0 5, 0 0 0 a n d o bt ai n e d a m ort g a g e

24   fr o m W ells F ar g o B a n k of $ 7 5 0, 0 0 0 o n M ar c h 3 1, 2 0 1 0 ( w hi c h l o a n w as o bt ai n e d s ol el y i n Dr. M ur p h y’s

25   o w n n a m e a n d t h e m ort g a g e d e e d of tr ust w as e x e c ut e d s ol el y b y J o h n M ur p h y). Dr. M ur p h y r efi n a n c e d

26   t h e ori gi n al m ort g a g e l o a n i n D e c e m b er of 2 0 1 1 a n d t h e n e w m ort g a g e ( w hi c h w as o n c e a g ai n o bt ai n e d

27   s ol el y u n d er Dr. M ur p h y’s n a m e a n d si g n at ur e) w as f ull y p ai d off o n or a b o ut D e c e m b er 1 9, 2 0 1 4.

28               T h e e vi d e n c e pr es e nt e d t o t h e C o urt est a blis h e d t h at Dr. M ur p h y s p e nt $ 1, 6 3 5, 9 3 6. 8 1 t o p ur c h as e

                                                                                        8
                                  C O U R T J U D G M E N T B Y D E F A U L T1 3 A ofN D5 8 S TI P U L A TI O N F O R E N T R Y O F J U D G M9:E2 N2-TB K- 1 0 0 2EXHIBIT
     S O U T H W E S T E R N R E S E A R C H, I N C.
                                                                                                                                                                   A
                                                                                                                                                                  3- D S
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 1   t h e pr o p ert y a n d t o p a y t h e m ort g a g e i nt er est a n d pr o p ert y t a x es t h er e o n b et w e e n M ar c h 3 1, 2 0 1 0 a n d

 2   D e c e m b er 1 9, 2 0 1 4. Dr. M ur p h y’s pri or t esti m o n y i n t his l a ws uit est a blis h es t h at his s ol e s o ur c e of

 3   i n c o m e b et w e e n 1 9 9 4 a n d mi d- 2 0 1 6 w as his e m pl o y m e nt at S RI . His St at e m e nt of N et W ort h d at e d

 4   F e br u ar y 1, 2 0 1 0 a n d t h e W ells F ar g o l o a n a p pli c ati o n d at e d M ar c h 3 1, 2 0 1 0, w hi c h w as s w or n u n d er t h e

 5   p e n alt y of t h e F als e St at e m e nts A ct, est a blis h t h at Dr. M ur p h y a n d his wif e h a d n o ot h er ass ets fr o m

 6   w hi c h t o p ur c h as e t h e pr o p ert y a n d p a y off t h e m ort g a g e d e bt a n d pr o p ert y t a x es. T h e e vi d e n c e

 7   pr es e nt e d t o t h e C o urt est a blis h e d t h at 7 4 % of t h e n et aft er-t a x c as h a v ail a bl e t o Dr. M ur p h y i n t h e M ar c h

 8   3 1, 2 0 1 0 t o D e c e m b er 1 9, 2 0 1 4 ti m e p eri o d w as fr o m f u n ds w hi c h h e c o n v ert e d fr o m S RI. T h e C o urt

 9   fi n ds t h at Dr. M ur p h y o bt ai n e d 7 4 % of t h e $ 1, 6 3 5, 9 3 6. 8 1 i n f u n ds t h at h e utili z e d t o p ur c h as e t h e h o m e

10   a n d p a y t h e m ort g a g e i nt er est a n d pr o p ert y t a x es t hr o u g h D e c e m b er 1 9, 2 0 1 4 fr o m f u n ds t h at h e

11   u nl a wf ull y c o n v ert e d fr o m S RI.

12                 B y virt u e t h er e of, t h e C o urt fi n ds t h at SRI h as a c o nstr u cti v e tr ust or e q uit a bl e li e n u p o n t h e

13   M a c a rt h ur pr o p ert y, eff e cti v e as of M ar c h 3 1, 2 0 1 0, i n a n a m o u nt e q u al t o, or r e pr es e nti n g, s e v e nt y- f o ur

14   p er c e nt ( 7 4 %) of t h e o w n ers hi p e q uit y i n t h e pr o p ert y.

15                     B. 2 1 6 S E Os c e ol a Str e et, St u art F L 3 4 9 9 4

16                 O n or a b o ut O ct o b er 1 5, 2 0 1 9 Dr. M ur p h y o bt ai n e d a n e w $ 4 0 0, 0 0 0 m ort g a g e o n t h e M a c art h ur

17   pr o p ert y. A c c or di n g t o t h e S e pt e m b er 2 0 1 9 a n d S e pt e m b er 2 0 2 0 c o m m u ni c ati o ns fr o m Dr. M ur p h y t o

18   his a c c o u nt a nt i ntr o d u c e d i nt o e vi d e n c e, Dr. M ur p h y a d mitt e d t h at h e o bt ai n e d t h e $ 4 0 0, 0 0 0 m ort g a g e o n

19   t h e M a c art h ur r esi d e n c e a n d us e d t h e pr o c e e ds t h er e of t o p ur c h as e (f or c as h), a n d l at er t o m a k e str u ct ur al

20   i m pr o v e m e nts u p o n, a r esi d e nti al pr o p ert y i n a mi x e d us e ar e a l o c at e d at 2 1 6 S E Os c e ol a Str e et i n St u art

21   Fl ori d a, t o b e utili z e d as D ef e n d a nt M ur p h y’s m e di c al offi c e . T h e l e g al d es cri pti o n of t h at pr o p ert y is as

22   f oll o ws:

23               L ots 1 0 a n d 1 1 , A M E N D E D P L A T O F E A S T E N D S U B DI VI SI O N, a c c or di n g t o t h e pl at
                 t h er e of, as r e c or d e d i n Pl at B o o k 5, p a g e 3 3, of t h e P u bli c R e c or ds of Pal m B e a c h n o w
24               M ar ti n C o u nt y, Fl ori d a, L ess a n d e x c e pt t h e N ort h 1 0 f e et t h er e of, f or r o a d p ur p os es.
                 S u bj e ct t o t a x es f or 2 0 1 9 a n d s u bs e q u e nt y e ars; c o v e n a nts, c o n diti o ns, r estri cti o ns,
25               e as e m e nts, r es er vati o ns a n d li mit ati o ns of r e c or d, if a n y.
26                 Dr. M ur p h y c a us e d t h e titl e t o t h e 2 1 6 S E Os c e ol a pr o p ert y t o b e t a k e n i n t h e n a m e of L G D D,

27   L L C, a n e ntit y w hi c h o p er at es D r. M ur p h y’s m e di c al pr a cti c e a n d w hi c h is 1 0 0 % o w n e d b y D r. M ur p h y

28   a c c or di n g t o his s w or n st at e m e nts pr o vi d e d t o t h e I R S i n 2 0 1 9 a n d i n his 2 0 1 7 a n d 2 0 1 8 t a x r et ur ns.

                                                                                        9
                                  C O U R T J U D G M E N T B Y D E F A U L T1 4 A ofN D5 8 S TI P U L A TI O N F O R E N T R Y O F J U D G M9:E2 N2-TB K- 1 0 0 2EXHIBIT
     S O U T H W E S T E R N R E S E A R C H, I N C.
                                                                                                                                                                   A
                                                                                                                                                                  3- D S
     P R O O F O F C L AI M -- E X HI BI T S                                                                                                                 Page 43
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 1                 B y virt u e t h er e of, t h e C o urt fi n ds t h at S RI h as a c o nstr u cti v e tr ust or e q uit a bl e li e n u p o n t h e 2 1 6

 2   S E Os c e ol a pr o p ert y, w hi c h d at es b a c k t o t h e d at e of p ur c h as e of t h e Os c e ol a pr o p ert y, b y virt u e of t h e

 3   us e of tr a c e a bl e pr o c e e ds fr o m t h e M a c art h ur pr o p ert y t o p ur c h as e t h e Os c e ol a pr o p ert y, i n a n a m o u nt

 4   e q u al t o, or r e pr es e nti n g, s e v e nt y-f o ur p er c e nt ( 7 4 %) of t h e o w n ers hi p e q uit y i n t h e 2 1 6 S E Os c e ol a

 5   pr o p ert y.

 6                      C. 5 5 5 0 P artri d g e C o urt, W estl a k e Vill a g e, C A 9 1 3 6 2

 7                   O n M a y 1 0, 2 0 1 1, D arr ell M a a g a n d his wif e A n a K M a a g, w hil e d o mi cil e d i n C alif or ni a,

 8   p ur c h as e d a s e c o n d r esi d e nti al pr o p ert y i n V e nt ur a C o u nt y C alif or ni a l o c at e d at 5 5 5 0 P artri d g e C o urt,

 9   W estl a k e Vill a g e 9 1 3 6 2. T h e l e g al d es cri pti o n of t h e pr o p ert y is as f oll o ws:

10               L ot 3 7 of Tr a ct N o. 4 1 8 8- 0 2 as p er M a p r e c or d e d i n B o o k 1 1 1, P a g es 8 6 t o 9 1 i n cl usi v e of
                 M a ps, i n t h e Offi c e of t h e C o u nt y R e c or d er of V e nt ur a C o u nt y, C alif or ni a. Als o K n o w n
11               as: 5 5 5 0 P artri d g e C o urt, W estl a k e Vill a g e, C A 9 1 3 6 2 A P #: 6 8 9- 0- 4 0 2- 1 8 5.
12               T h e W estl a k e Vill a g e pr o p ert y w as p ur c h as e d f or $ 1, 1 5 0, 0 0 0. D ef e n d a nt M a a g a n d his wif e di d

13   n ot s ell t h eir e xisti n g r esi d e n c e i n O a k P ar k, w hi c h w as f ull y p ai d f or, i n or d er t o p ur c h as e t h e W estl a k e

14   Vill a g e pr o p ert y. D ef e n d a nt M a a g m a d e a $ 9 5 0, 0 0 0 c as h d o w n p a y m e nt o n t h e pr o p ert y a n d Mr. M a a g

15   a n d his wif e o bt ai n e d a $ 2 0 0, 0 0 0 m ort g a g e fr o m W ells F ar g o B a n k f or t h e b al a n c e of t h e p ur c h as e pri c e.

16   T h at m ort g a g e w as p ai d i n t h e r e q uir e d m o nt hl y a m o u nts t hr o u g h S e pt e m b er of 2 0 1 2 a n d t h e n w as p ai d

17   off i n o n e l u m p s u m p a y m e nt o n O ct o b er 1 7, 2 0 1 2.

18                 T h e e vi d e n c e pr es e nt e d t o t h e C o urt est a blis h e d t h at D ef e n d a nt M a a g s p e nt $ 1, 1 9 0, 3 2 4. 5 9 t o

19   p ur c h as e t h e pr o p ert y a n d t o p a y t h e m ort g a g e i nt er est a n d pr o p ert y t a x es t h er e o n b et w e e n M a y 1 0, 2 0 1 1

20   a n d O ct o b er 1 7 , 2 0 1 2.          Mr. M a a g’s pri or t esti m o n y i n t his l a ws uit est a blis h es t h at his s ol e s o ur c e of

21   i n c o m e at all m at eri al ti m es b ef or e D e c e m b er 3 1, 2 0 1 5 w as his e m pl o y m e nt at S RI.                        Mr. M a a g’s l o a n

22   a p pli c ati o n d at e d M a y 9, 2 0 1 1, s w or n u n d er t h e p e n alt y of t h e F als e St at e m e nts A ct, s h o w e d t h at ot h er

23   t h a n t h e e xistin g r esi d e n c e i n O a k P ar k, w hi c h D ef e n d a nt M a a g a n d his wif e el e ct e d n ot t o s ell a n d h a v e

24   r et ai n e d o w n ers hi p t h er e of, a n d t h e b a n k a n d i n v est m e nt a c c o u nts list e d as t h e s o ur c e f or t h e d o w n

25   p a y m e nt, Mr. M a a g a n d his wif e h a d n o ot h er ass ets fr o m w hi c h t o p ur c h as e t h e W estl a k e Vill a g e

26   pr o p ert y.

27                 T h e e vi d e n c e pr es e nt e d est a blis h e d t h at 5 0 % of t h e n et aft er t a x c as h a v ail a bl e t o Mr. M a a g a n d

28   his wif e d uri n g t h e M a y 1 0, 2 0 1 1 t hr o u g h O ct o b er 1 7, 2 0 1 2 ti m e p eri o d w as fr o m f u n ds w hi c h M a a g

                                                                                       10
                                  C O U R T J U D G M E N T B Y D E F A U L T1 5 A ofN D5 8 S TI P U L A TI O N F O R E N T R Y O F J U D G M9:E2 N2-TB K- 1 0 0 2EXHIBIT
     S O U T H W E S T E R N R E S E A R C H, I N C.
                                                                                                                                                                   A
                                                                                                                                                                  3- D S
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 1   u nl a wf ull y c o n v ert e d fr o m S RI. T h e C o urt fi n ds t h at D ef e n d a nt M a a g o bt ai n e d 5 0 % of t h e

 2   $ 1, 1 9 0, 3 2 4. 5 9 i n f u n ds utili z e d t o p ur c h as e t h e h o m e a n d p a y t h e m ort g a g e i nt er est a n d pr o p ert y t a x es

 3   b et w e e n M a y 1 0, 2 0 1 1 a n d O ct o b er 1 7, 2 0 1 2 fr o m f u n ds t h at M a a g u nl a wf ull y c o n v ert e d fr o m S RI.

 4                 B y virt u e t h er e of, t h e C o urt fi n ds t h at SRI h as a c o nstr u cti v e tr ust or e q uit a bl e li e n u p o n t h e 5 5 5 0

 5   P artri d g e C o urt, W estl a k e Vill a g e pr o p ert y, eff e cti v e as of M a y 1 0, 2 0 1 1, i n a n a m o u nt e q u al t o, or

 6   r e pr es e nti n g, fift y p er c e nt ( 5 0 %) of t h e o w n ers hi p e q uit y i n t h e pr o p ert y.

 7               1 0. Ot h er E q uit a bl e R eli ef .

 8                 A s h ar e h ol d er d eri v ati v e l a ws uit is a n a cti o n i n e q uit y. N ess bit v. S u p eri or C o urt, 2 1 4 C al. 1, 8

 9   ( 1 9 3 1); N els o n v. A n d ers o n, 7 2 C al. A p p. 4t h 1 1 1, 1 2 7 ( 1 9 9 9). A c o urt h e ari n g a s h ar e h ol d er d eri v ati v e

10   l a ws uit m ust “ ‘ m a k e a pr o p er a dj ust m e nt of t h e “ri g hts, e q uiti es, a n d i nt er ests ” of all t h e p arti es

11   i n v ol v e d.’ [ Cit ati o n.] ” C & K E n gi n e eri n g C o ntr a ct ors v. A m b er St e el C o., 2 3 C al. 3 d 1, 1 1 ( 1 9 7 8).

12                S RI h as o nl y t w o s h ar e h ol d ers – t h e M u nj a c k Tr ust a n d Dr. M ur p h y. W h er e, as h er e, t h er e ar e

13   o nl y t w o s h ar e h ol d ers of t h e c or p or ati o n a n d t h e j u d g m e nt will b e a g ai nst o n e of t h os e s h ar e h ol d ers f or

14   d a m a g es c a us e d t o t h e c or p or ati o n, t h e C o urt h as b ot h t h e p o w er a n d t h e d ut y t o pr o vi d e i n t h e j u d g m e nt

15   t h at t h e s h ar e h ol d er d ef e n d a nt m a y n ot r e c ei v e a n y p orti o n of t h e d a m a g es c a us e d t o t h e c or p or ati o n b y

16   t h e s h ar e h ol d er’s wr o n gf ul c o n d u ct.         R a n ki n v. Fr e b a n k C o m p a n y, 4 7 C al. A p p. 3 d 7 5, 9 6 ( 1 9 7 5); N els o n

17   v. A n d ers o n, s u pr a, 7 2 C al. A p p. 4t h at 1 2 7. A c c or di n gl y, t h e C o urt fi n ds t h at Dr. M ur p h y s h o ul d n ot

18   r e c ei v e a n y s h ar e h ol d er distri b uti o ns/ di vi d e n ds fr o m S RI u nl ess a n d u ntil t h e j u d g m e nt a g ai nst hi m i n

19   f a v or of S RI h as b e e n f ull y s atisfi e d.

20                P urs u a nt t o t h e r e q u est of Pl ai ntiff Fri e d m a n, a n d t h e pr o visi o ns of C or p or ati o ns C o d e § 4 2 2, t h e

21   C o urt als o fi n ds t h at t h e B o ar d of Dir e ct ors of S RI, i n its dis cr eti o n, m a y ( 1) r e q uir e, p urs u a nt t o

22   C or p or ati o ns C o d e § 4 2 2( a), t h at t h e S RI st o c k c ertifi c at e c urr e ntl y h el d b y Dr. M ur p h y b e s urr e n d er e d t o

23   t h e c or p or ati o n for c a n c ell ati o n a n d t h at a n e w st o c k c ertifi c at e b e iss u e d i n its pl a c e r e citi n g t h e

24   e xist e n c e of t h is j u d g m e nt i n f a v or of S RI a n d a g ai nst Dr. M ur p h y a n d c o nt ai ni n g a st at e m e nt t h at t h e

25   s h ar es pr es e ntl y h el d b y Dr. M ur p h y s h all n ot b e s u bj e ct t o tr a nsf er, or eli gi bl e t o r e c ei v e a n y di vi d e n d or

26   distri b uti o n, u ntil a n d u nl ess t h e j u d g m e nt i n f a v or of S RI a n d a g ai nst Dr. M ur p h y h as b e e n f ull y

27   s atisfi e d; a n d ( 2) d et er mi n e t h at, p urs u a nt t o C or p or ati o ns C o d e § 4 2 2( b), Dr. M ur p h y is n ot e ntitl e d t o

28   v ot e or t o r e c ei v e di vi d e n ds, or t o e x er cis e a n y of t h e ot h er ri g hts of a s h ar e h ol d er, u ntil Dr. M ur p h y

                                                                                       11
                                  C O U R T J U D G M E N T B Y D E F A U L T1 6 A ofN D5 8 S TI P U L A TI O N F O R E N T R Y O F J U D G M9:E2 N2-TB K- 1 0 0 2EXHIBIT
     S O U T H W E S T E R N R E S E A R C H, I N C.
                                                                                                                                                                   A
                                                                                                                                                                  3- D S
     P R O O F O F C L AI M -- E X HI BI T S                                                                                                                 Page 45
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 1   c o m pli es wit h s u c h dir e cti v e of t h e B o ar d of t h e Dir e ct ors.

 2                           Sti p ul ati o n f o r E nt r y of J u d g m e nt o n Fi rst a n d S e c o n d C a us es of A cti o n

 3               Pl ai ntiffs L ois Fri e d m a n a n d J ar e d St ei n a n d D ef e n d a nt S RI e nt er e d i nt o a sti p ul ati o n f or e ntr y of

 4   j u d g m e nt o n t h e first a n d s e c o n d c a us es of a cti o n i n Fri e d m a n v. M ur p h y o n N o v e m b er 8, 2 0 1 9.

 5   D ef e n d a nt M ur p h y fil e d a n o bj e cti o n t o t h e sti p ul ati o n a n d pr o p os e d or d er t h er e o n. F oll o wi n g a h e ari n g

 6   o n D ef e n d a nt M ur p h y’s o bj e cti o n, t h e C o urt a p pr o v e d t h e Sti p ul ati o n f or E ntr y of J u d g m e nt o n t h e first

 7   a n d s e c o n d c a us es of a cti o n o n A u g ust 2 0, 2 0 2 0. P U R S U A N T T O T H A T S TI P U L A TI O N A N D T H E

 8   C O U R T’ S P RI O R O R D E R:

 9                1.           J u d g m e nt is e nt er e d i n f a v or of Pl ai ntiff Fri e d m a n a n d a g ai nst D ef e n d a nt S RI o n t h e First

10   C a us e of A cti o n f or E nf or c e m e nt of S h ar e h ol d er D o c u m e nt Ri g hts ( C or p. C o d e § § 1 6 0 1 a n d 1 6 0 3), a n d

11   t h e fi n di n gs of t h e C o urt c o nt ai n e d i n t h e Or d er d at e d M a y 6, 2 0 1 4 ( w hi c h is att a c h e d h er et o) ar e d e e m e d

12   fi n al a n d ar e i n c or p or at e d i n t his J u d g m e nt;

13                2.           J u d g m e nt is e nt er e d i n f a v or of Pl ai ntiff J ar e d St ei n a n d a g ai nst D ef e n d a nt S RI o n t h e

14   s e c o n d c a us e of a cti o n f or E nf or c e m e nt of Dir e ct or D o c u m e nt Ri g hts ( C or p. C o d e § § 1 6 0 2 a n d 1 6 0 3),

15   a n d t h e fi n di n gs c o nt ai n e d i n t h e Or d er d at e d M a y 6, 2 0 1 4 ar e d e e m e d fi n al a n d ar e i n c or p or at e d i n t his

16   J u d g m e nt;

17                3.          I n c o n n e cti o n wit h t h e First a n d S e c o n d C a us es of A cti o n o nl y, Pl ai ntiffs L ois Fri e d m a n

18   a n d J ar e d St ei n s h all n ot b e a w ar d e d a n y att or n e y’s f e es or c osts b y virt u e of t h e pr o visi o ns of t h e

19   Sti p ul ati o n; a n d

20                4.           P urs u a nt t o t h e Sti p ul ati o n a n d t h e A u g ust 2 0, 2 0 2 0 Or d er a p pr o vi n g it, t h e j u d g m e nt o n

21   t h e first t w o c a us es of a cti o n is fi n al f or all p ur p os es u p o n t h e e ntr y h er e of, a n d D ef e n d a nt S RI h as

22   w ai v e d a n y ri g ht t o m o v e f or a n e w tri al or t o a p p e al t h e j u d g m e nt o n t h e first t w o c a us es of a cti o n or t o

23   s e e k t o s et asi d e t h e J u d g m e nt t hr o u g h a n y c oll at er al att a c k . S RI h as als o e x pr essl y w ai v e d n oti c e of

24   e ntr y of j u d g m e nt a n d n oti c e of a n d ri g ht t o a n y h e ari n g r e g ar di n g e ntr y of j u d g m e nt.

25   D at e d: O ct o b er _2 _0_, 2 0 2 1
26
                                                                             ________________________________________
27                                                                                              H u e y P. C ott o n
                                                                                      J u d g e of t h e S u p eri or C o urt
28

                                                                                       12
                                  C O U R T J U D G M E N T B Y D E F A U L T1 7 A ofN D5 8 S TI P U L A TI O N F O R E N T R Y O F J U D G M9:E2 N2-TB K- 1 0 0 2EXHIBIT
     S O U T H W E S T E R N R E S E A R C H, I N C.
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                                                                                                           EXHIBIT A
                                                                                         9: 2 2- B K- 1 0 0 2 3- D S
S O U T H W E S T E R N R E S E A R C H, I N C.
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                D O 'A L O L. C O R N W E L L, E Q. ( B 0 8 1 6 9 7)
                L A W O F FI C E O F 0 0 A L O L. C O R N W E L L, P C
       2

       3
                1 1 7 6 6 Wi lshir e IJ o ul c v ar d, S uit e 7 0 0
                L os A n g el e s, C A 9 0 0 2 5
                ( 3 1 0) 4 7 7- 3 I I I
                                                                             R E C EI
                                                                                   · V E D  .
                                                                                                                                               .
                                                                                                                                                      UAY 06            z o•i,l.,
                                                                                                                                                               E x c uti v e Officer/ Cle
                                                                                                                                        S h e m R. Carter,         e
       4       Att or n e y f or Pl ai ntiff s                                                  A P R 2 5 2014                                  B y O ari a n S ali s b ur y, D e p ut y
               L O I F RI E D M A a n d                                                   S U P E RI O R C O U R T
       5       J A R E D S T Ef N
                                                                             W E S T DI S T RI C T S A N T A M O NI C A
                                                                                                0   S A LI S B U R Y
       6

       7                                          U P E Rl O R C O U R T O F T II E S T A T E O F C A L I F O RJ'\ T I A

       8                                                     F OR T HE               0      NT Y OF L O                  A N GELE

       9        L O I F R IE D M A , T R U T E E of T H E                                       )            C A E 0. C 1 2 1 1 2 8
                D E N NI S M U N J A C K I · 1E R V! V O S                                      )            ( H o n All a n J G o o d m a n- D e p t P)
      I0         r R U T, s ui n g i n di vi d u all y a n d d eri v ati v el y                 )
                o n b e h atr of S o ut h w e st er n R e s e ar c h. I nc., a                  )            [ Pro p e d] O R D E R DI R E C T ! G T H E
      II        C alif or ni a c or p or at io n; a n d J A R. C D T E I ,                      )            P R O DV CT ! O OF C O RP O R A T E
                a n i n di vi d u al,                                                           )            REC OR D OF O UT H WE TER
      12                                         Pl ai ntiff s,                                 )            R E E A R C I I, f N C.
                                                                                                )
      13                       v.                                         )
                                                                          )
      14       J O H M U R P H Y, M. D .. a n i ndi vi d u al:            )
               D A R Rf L L M A A G. a n i n di vi d u al;                )
      I5       M A X W E L L & C O M P A Y C P A' I 1 C., a )
               C alif or ni a c or p or a ti o n; \\I L LI A M            )
      16       M A X' A L L L, a n i n di vi d u al; CI I R E I B E R & )
               S C I ! R EI B E R, I C., a C a li f o r ni a              )
      17       c or p or ati o n: E D Wf       C. S C H R E I B E R, a n )
               i n di vi d u al; S O U T H E R        C A LI F O R I A    )
      18       R E S E A R C H, L L C, a C al if o r ni a li mit e d      )
               lia bilit y c o m p a n y; a n d O U T H W E T E R N )
      19       R E L A R C H. IN C., a C alif or ni a                     )
               c or p or ati o n ,                                        )
     20                                         D ef e n d a nt s .       )

     2 1

     22                        A V er ifie d C o m pl ai nt v. a s lil e d b y Pl ai ntiff L ois Fri e d m a n. Tr u st e e of t he D e n ni s

     23         M u nj a c k        I nte r Vi v o s Tr u st a n d Pl a i nti ff J ar e d           t ei n o n A u g u st 6, 2 0 13 a n d w a s ti m el y s e rv e d o n

     24           o ut h v. c t er n R e s e ar c h. I nc. ( h er e aft er r ef err e d c o a s· · RJ") o n A u g u st 1 3, 2 0 1 3 a s d o c u m e nt e d

     25         b y a Pr o of of S er vi c e fil e d w it h t his c o urt.                  S RI f ail e d t o re s p o n d t o t h e V er ifie d C o m pl ai nt a n d

     26        t h is C o urt e nt er e d t h e d ef a ult of            RI o n O ct o b er 2 2, 2 0 I 3.

     27                        B a s e d o n t he all e g ati o ns of t h e V erifi e d C o m pl ai nt. t he D e cl ar ati o n s fil e d w it h t hi s c o urt
     28        a n d t h e J u d g m e nt of t h e u p eri or C o u rt i n I n re De n n is M u nj a c k Tr u st, L o is Fri e d m a n , Tr u st e e


                                                                Or d er Dir e cti n g Pr o d u cti o n of C or p or nt c R e c or d s


                                                                               1 9 of 5 8
                                                                                                                                                                       EXHIBIT A
                                                                                                                                                     9: 2 2- B K- 1 0 0 2 3- D S
S O U T H W E S T E R N R E S E A R C H, I N C.
P R O O F O F C L AI M -- E X HI BI T S                                                                                                                                  Page 48
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             v. J o h n M ur o h y e 1...fil _, _ L os A n g el e s       u p eri or C o u n C a s e              l o. S P 0 0 7 5 7 8, a n d t h e ar g u m e nt s of t he

      2     p arti e s b ef or e t hi s C o urt o n A pri l 9, 2 0 1 4 a n d A pril 1 4 , 2 0 1 4 , t h e C o urt fi n d s t h at Pl ai ntiff L oi s

      3      Fri e d m a n h a s at a ll ti me s s i nc e M a y 1 0, 2 0 0 8 b e e n a s h a r e hol d e r of re c o r d of D ef e n d a nt S RI a n d

      4      t h at o n N o v e m b er 2 0, 2 0 1 2 a n d c o nt i n ui ng t h er e aft er Pl ai ntiff L oi s Fri e d m a n m a d e l a wf ul

      5     d e m a n d f or t h e i n s p e cti o n of S R r s a c c o u nt i n g b o o k s a n d r e c or d s, w h i c h w a s d e ni e d wit h o ut

      6     j u stifi c ati o n b y S RI i n vi o l ati o n of C a lif or ni a C or p or a tio n s C o d e § 16 0 1. T h e c o urt f urt h er fi n d s

      7     t h at t h e p ur p o s e of t h e i ns p e c ti o n s o u g ht b y Pl ai ntiff Fri e d m a n ( a s s e t f ort h i n p ar a g ra p h 8 2 of t h e

      8     V erifi e d C o m p l ai nt a n d i n her d e c lar a ti o n fil e d wi t h t hi s C o urt ) i s re a s o n a b l y r el at e d t o Pl ai ntiff

      9     Fr ei d m a n' s i nt er e st i n S RI a s a s h ar e h ol d er.

  10                     B a s e d o n t h e all e g a tio n s of t h e V erifi e d C o m pl a i nt a n d t h e D e cl ar ati o n s fil e d w it h t his

  11        C o urt . t h e C o urt fi n d s t h at Pl a i ntiff J ar e d             tci n h a s at all ti m es s i nc e M ar c h 6, 2 0 1 3 b e e n a

  12        m e m b er of t h e B o ar d of Dir e c t or s of S R I a n d t h at o n M ar c h 6, 2 0 1 3, A pril 1 1, 2 0 1 3 a n d J ul y 1 9,

  13        2 0 1 3, Pl ai ntiff St ei n m a d e d e m a n d u p o n                 RI t o i ns p e ct a n d c o p y 2 0 d e s cri b e d c at e g o ri e s of

  14        b o o k s a n d r e c or d s o f S R I, w hi c h r e q u e st s w er e d e ni e d w it ho ut j u stifi c ati o n b y                         RI i n vi o lati o n of

  15        C a lif or ni a C or p or ati o n s C o d e § 1 6 0 2.

  16                     A c c or di n gl y, I T I S H E R E B Y O R D E R E D t h at, u p o n s er vi c e of t his Or d e r, S RI s h all

  17        i m me d i at ely m a k e a v a ila b l e t o Pl ai ntiff L oi s F ri e d m a n ( an d t o Pl ai nti f f s Fri e d m a n' s a tto r ne y,

  18        D o n a l d C or n w ell, a n d Pl ai ntiff s a c c o u nti n g fir m , O ull\ bi n er                         a v e tt, ln. E.) f o r i ns p e cti o n
                                                                                   Cl\l-t V' d c: _ (                                                                    /' J   r   -I -
  19        c o p yi n g all of S RI' s a c c o u nti n g b o o k s a n d r e c or d s f or                                               d at e, i ncl u d in g a n y

 20         d o c u m e nt s m ai nt ai n e d m el e c tr o ni c f or m or a s p art of a n y a c c o u nti n g s oft w ar e o r ot h er s oft w ar e

 21         d at a b a s e a n d t h e m e a n s b y w hi c h t o a c c e s s a n y s u c h el e ctr o ni c d a t a. S RI s h a ll al s o m a k e

 22         a v a ila bl e f or i n s p e cti o n a n d C O P. Yi n g b y Pl ai o F Lt _iff Fri e d m a n a n d h er att or n e y a n d a c c o u n t ant s a n y
                                                       °' k J: Ar
 23         of t h e a c c o u nti n g re c or d s f or                                  t o d at e w hi c h ar e m ai nt ai n e d a n d st or ed off -sit e b y

 24         a n y a g e nt or e ntit y a c ti ng o n b e h alf of S RI at ti me s a n d p l a c e s a c c e pt a bl e t o Pl ai ntiff s c o u n s e l

 25         a n d t o G ur n bi n er         a v ett, I n c. S u c h a c c e s s s h all b e pr o vi d e d b y S RI d uri n g its u s u a l b u s i n es s

 26         h o u r s a n d f or s u c h d ur ati o n a s s h all b e d e e m e d s ati sf a ct o r y b y G u m bi n er                       a v ett, I nc. t o c o m pl et e

 27         it s i ns p e c ti o n a n d c o p yi n g of t h e a c c o u nti n g re c or d s. S u c h d o c u m e nt s a n d it e ms s h a ll b e m a d e

28         a v ail a bl e f or i n s p e ctio n a n d c o p y i ng d uri n g              RI' s u s u a l b u si n e s s h o ur s.

                                                                                              2
                                                           Or d er Dir e c u n g Pr o d u c u o n of C or p or at e R e c or d s
                                                                            2 0 of 5 8
                                                                                                                                                                 EXHIBIT A
                                                                                                                                               9: 2 2- B K- 1 0 0 2 3- D S
S O U T H W E S T E R N R E S E A R C H, I N C.
P R O O F O F C L AI M -- E X HI BI T S                                                                                                                            Page 49
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                         S RI l S F U R T H E R O R D E R E D, u p o n s e r vi c e of t his Or d er , t o i m m e di at el y m a k e a v ail a bl e

   2        t o Pl ai ntiff J ar e d St ei n ( an d t o Pl ai ntiff St ei n' s att or n e y D o n al d C or n w ell a n d t h e a c c o u n ti ng fir m

   3        of G u m bi n er S a v ell, I n c.) f or i ns p e c ti o n a n d c o p yi n g t h e f oll o wi n g ite m s:

   4                                  W- 2        f or Dr. J o h n M u rp h y f or 2 0 0 7 tl u· o u g h 2 0 1 3

   5                            2.    W - 2 s f or D a n ell M a a g f or 2 0 0 7 t hr o u g h 2 0 1 3
   6                            3.    All cr e d it c ar d bill s f o r D arr ell M a a g fr o m J a n u a r y 1, 2 0 0 7 t o d at e

   7                            4.    All cr e dit c a r d bill s f o r Dr. J o h n M ur p h y fro m J a n u ar y I , 2 0 0 7 t o d at e

    8                    ( On it e m s 3 a n d 4, if n ot all cr e dit c ar d bill s r em ai n i n y o ur p o s s e s s i o n a n d ar e n ot
                         a v a il a bl e fr o m t h e C o m p a n y' s off sit e s t or a g e f a cilit y, r e q u est t h e m fr o m t h e Cr e d it
   9                     C a r d Is s u er s a n d m a k e t he m a v ail a bl e f or i ns p e cti o n a n d c o p yi n g u p o n r e c ei pt. )

  10                            5. All d o c u m e nt ati o n a n d wri n e n c o m m u ni c ati o n s r e g ar di ng a n y l o a ns m a d e
                                      b y t h e C o m p a n y t o eit h er Dr . M ur p h y or D arr ell M a a g at a n y ti m e si n c e
  11                                  J a n u ar y 1, 2 0 0 8
  12                            6.    All d o c u m e nt ati o n a n d writt e n c o m m u ni c ati o n s r e g ar di n g a n y l o a ns m a d e
                                      b y eit h er Dr. M ur p h y o r D arr ell M a a g t o t h e C o m p a n y at a n y ti m e s i n c e
  13                                  J a n u ar y l , 2 0 0 8.
  14                            7.    T h e C o m p a n y' s E m er g e n c y Pl a n a n d a n y a m e n d m e nt s.

  15                            8.    T h e C o m p a n y' s writt e n d o c u m e nt r et e nti o n pl a n a n d a n y writt e n p oli ci e s
                                      r e ga r di n g d o c u m e nt r et e nti o n.
  16
                                9.    A m a st e r list of C o m p a n y p er s o n n el, t h eir j ob titl es a n d f u n cti o n s a n d t h eir
  17                                  lo c a tio n s
  18                            1 0. T h e C o m p a n y' s m o st r e c e nt s e t of Or g a ni z a ti o n C h art s.
  19                            1 1 . T h e c u n- e nt el e ctr o ni c d at a fil es f or S R J' s M Y O B a c c o u nti n g s o ft w ar e a n d t h e
                                      b a c k u p t R p es/di s c s fr o m t h e I nf or m s oft w ar e c o nt ai ni n g t h e a c c o u nti n g d at a f or t h e
 20                                   pri or y e a r s w hi c h ar e n ot i n cl u d e d i n t h e c urr e nt d at a s et.

 21                             1 2. A c o p y of I nv e nt or y /Fi l e Li st f or w h at' s i n st o r a g e i n W e s t w o o d

 22                             1 3. C o pi e s of d o c u m e nt d e str u cti o n or d er s gi v e n t o t h e W e s t w o o d st or a g e f a cility
                                     s i n c e M a y 1, 2 0 0 8
 23
                                1 4. A n n u al P e n s i o n C o ntri b uti o n R e p ort s s h o wi n g S R J p e n sio n c o ntri b uti o n s f or all
 24                                  e m pl o y e e s fr o m 2 0 0 7 t o d at e
 25                             1 5. All c h e c k s is s u e d t o Ors. M ur p h y a n d M u nj a c k i n 2 0 0 8 a n d t h e b a c k u p f or t h os e
                                     c h e c ks
 26
                                1 6. A c o m pl e t e s c h e d ul e of all c h e c k s is s u e d b y S R I t o S c hr ei b e r & S c hr e i b er fr o m
 27                                  J a n u ar y 1, 2 0 0 8 t o d at e .
 28                             1 7. All c orr e s p o n d e n c e b et w e e n a n y o n e fr o m S RI a n d a n y o n e fr o m M a x w ell & C o
                                                                                                3
                                                             Or d er Dir e c u n g Pr o d u cti o n of C or p or at e R e c or d s
                                                                             2 1 of 5 8
                                                                                                                                                       EXHIBIT A
                                                                                                                                     9: 2 2- B K- 1 0 0 2 3- D S
S O U T H W E S T E R N R E S E A R C H, I N C.
P R O O F O F C L AI M -- E X HI BI T S                                                                                                                  Page 50
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                                       si n c e 2 0 0 7 (t his i n cl u d es b ot h p a p er a n d el e ctr o ni c c orr e s p o n d e n c e a n d e m ails).

     2                          1 8. C o m pl e t e c o pi e s of t he l o a n fil es c o n c e r ni ng a n y l o a n s m a d e t o Dr . M ur p h y or t o
                                     D arr ell M a a g at a n y ti me s i nc e J a n u ar y 1, 2 0 0 8.
     3
                                 l 9. C o m pl et e c o pi e s of t h e Jo a n fil es c o n c er ni n g a n y l o a n s m a d e b y Dr. M ur p h y or
     4                                D arr el l M a a g t o S RI at a n y ti me si n c e J a n u ar y 1, 2 0 0 8.

     5                          2 0. T h e or i gi nal c o u nt er si g n e d U n a ni m o u s C o n s e nt wit h Dr. M ur p h y' s s i g n at ur e
                                     n e e d s t o b e o b t ai ne d fr o m M ur p h y a n d pl a c e d i n a n e w p er m a n e nt fil e wit h t h e
     6                               B o ar d mi n ut e s at S R J.
     7      S RI s h all al s o m a k e a v a ila b le f or i nsp e c tio n a n d c o p yi n g b y Pl ai ntiff St ei n a n d hi s att or n e y a n d

     8      a c c o u nt a nt s a n y d o c u m e nt s liste d a b o v e w hi c h ar e m ai nt ai n e d a n d st ore d off-si t e b y a n y a g e nt or

    9       e n tit y a cti n g o n b e h al f of S RI at ti m es a n d pl a c e s a c c e pt a bl e t o Pl ai ntiff' s c o u ns el a n d t o

  ]o        G u m bi n er S a v et t, I nc.          u c h a c c e s s s h a ll b e pr o v i de d b y S Rl d uri n g its u s u a l b u s i ness h o urs a n d
  11        f or s u c h d ur ati o n a s s h al l b e d e e m e d s a tisf a ct o r y b y G u m bi n er S a v ett, I n c. t o c o m pl et e its

  12        i ns p e c ti o n a n d c o p y i ng of t he b o o k s a n d r ec o r ds of S RI.

  13                     N O T WI T H S T A N DI N G                                                       O F T H E F O R E G O!            G P R O YI S I O S, i n

  14        t h e e v e nt t h at S RI or a n y ot h er D ef e n d a nt i n t his m att er c o nt e n d s t hat a n y d o c u m e nt (s) s o u g ht b y

 15         eit h er Pl ai ntiff, or t h eir att or n e y s o r a c c o u nt a nt s , is su bj e ct t o t h e a tto r ne y - cli e nt pri vil e g e , s u c h

 16         d o c u m e nt s s h a ll n ot b e pr o d u c e d t o Pl ai ntiff s w it ho ut f urt her Or d er of t his C o urt. A n y s u c h

 17         d o c u m e nt s s h all b e i de n tifi e d i n a c o m pl et e pr i vil e g e lo g, w hi c h s h a ll s a ti sfy t h e re q u ire m e nt s f or

 18         pr i vile g e lo g s s e t f ort h i n C. C. P. § 2 0 3 I . 24 0( c), a n d s ha ll a d d itio n a lly s e t f ort h S RI' s p os itio n a s

 19         t o w h y s u c h d o c u m e nt m a y n ot b e vi e w e d b y Pl ai ntiff J ar e d                          t ei n as a dir e ct or of S RI. T h e

 20         pri vil e g e l og s h all b e s e rv e d o n c o u ns el f o r a ll p arti e s i n t his liti g ati o n w it hi n 7 2 h o ur s of t h e ti m e

 2 1        s u c h p riv ile g e is a s s e rte d ( w it h c o p ie s s e nt b y e m ail t o a ll c o u n s e l) an d i m me d i at el y fil e d wi t h

 22         t his C o urt.      P l ai ntiffs m a y, o n e x p art e a p pli c ati o n m a d e i n a c c or d a n c e w it h t h e C a lif o r nia R ul e s
                                                                                                                                       J C > '.t > C >   ct, Y"" Y\ '
 23        of C o urt, w it h t h e p a p er s s e rv e d o n c o u ns el f or a ll p art ies b y e m a il                                                 d a y pri or t o

 24         t h e h e ari n g , a p p e a r b ef or e t he C o urt t o ar g u e w h y s ai d d o c u m e nt i s eit h er n ot pri v ile g e d or s h o ul d

 25         b e m a d e a v ai la bl e f o r i ns p e cti o n a n d c o p yi n g b y Pl ai ntiff St ei n a s a dir e ct o r of S RI.

26                      P U RS U A           T T O T H E P R O V! J O                     O F C O R P O R A TI O N S C O D E § 1 6 0 3 (B) , all
27         offi c er s a n d a g e nt s of S RI s h a ll pr o d u c e t o Pl a i ntiffs Fri e d m a n a n d St e i n a n d t h eir a tto r n eys a n d

28         a c c o u nt a n ts all a c c o u nti n g re c o r ds a n d d o c u m e nt s d e s c ri b e d a b o v e w hi c h ar e i n t h eir c us to d y or

                                                                                             4
                                                          Or d er Dir e cti n g Pr o d u cti o n of C or p or at e R e c or d s
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                                                                                                                                                             EXHIBIT A
                                                                                                                                           9: 2 2- B K- 1 0 0 2 3- D S
S O U T H W E S T E R N R E S E A R C H, I N C.
P R O O F O F C L AI M -- E X HI BI T S                                                                                                                        Page 51
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           u n d er                         of c o n tr ol , u n d er p e n alt of p u 1 ·s h m c n t f or c v nt e m pt. 2[ c o u rt:t:
                                  U'.-- 0                                                                             ,(j _          I'""..:'.)                       ..._
   2                    C o u n s el f or                                    v e a c o p y o ft is O r d er b y m ai l o n S RI a n d                   · v e a c o p y of

   3       t hi Or d er o n e a c h p a rt y t o t hi s a cti o n.

   4

   5       D at e d:        _ 5-                  ' 2 01 4
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                                                                                                5
                                                             Or d er Dir c c u n g Pr o d u cti o n of C or p or at e R e c or d s
                                                                              2 3 of 5 8
                                                                                                                                                          EXHIBIT A
                                                                                                                                        9: 2 2- B K- 1 0 0 2 3- D S
S O U T H W E S T E R N R E S E A R C H, I N C.
P R O O F O F C L AI M -- E X HI BI T S                                                                                                                     Page 52
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                                                                              P R O O F O F S E R VI C E

      2                 I a m e m p lo y e d i n t h e C o u nt y of L o s A n g el e s, t at e of C a lif or ni a. I a m o v er t h e a g e of
            ei g ht e e n y e ar s a n d n ot a p art y t o t h e wit hi n a cti o n; m y b u si n e s s a d dr e s s i s 1 1 7 6 6 Wil s hir e
      3     B o ul e v ar d, S uit e 7 0 0 , L o s A n g el e s, C A 9 0 0 2 5 .
      4
                    O n T h ur s d a y A p ril 2 4, 2 0 1 4 I s er v e d t h e f oll o wi n g d o c u m e nt s o n t h e p arti e s i n t hi s a cti o n:
      5      l Pro p ose d J O R D E R DI R E C TI N G T H E P R O D U C T I ON O F C O R P O R A T E R E C O R D S O F
            S O U T H W E S T E R N R E S E A R C H, I N C.
      6
            [ x]         b y pl a ci n g a tr u e a n d c orr e ct c o p y t h er e of e n cl o s e d i n a s e al e d e n v el o p e wit h p o st a g e
      7                  t h er e o n f ull y pr e p ai d f or d e p o sit i n t h e U nit e d St a te s P o st Offi c e m ail b o x , at m y b u si n e s s
                         a d dr e s s s h o w n a b o v e, f oll o wi n g m y offi c e' s or di n ar y b u si n e s s pr a cti c e s f or t h e c oll e cti o n
      8                  a n d pr o c e s si n g of m ail, of w hi c h I a m r e a dil y f a mili ar, a n d a d dr e s s e d a s s et f ort h b el o w.
      9
                         O n t h e s a m e d a y c orr e s p o n d e n c e is pl a c e d f or c oll e cti o n a n d m aili n g , it is d e p o sit e d i n t h e
  10                     or di n ar y c o ur s e of b u si n e s s wit h t h e U nit e d St at e s P o st al S er vi c e.

  11                     S E E A T T A C H E D LI S T
  12                     b y d e p o s iti n g a tr u e a n d c orr e ct c o p y t her e of e n c lo s e d i n a s e al e d e n v el o p e wit h d el iv er y
            [ J          f e e s t h er e o n f ull y pr e p ai d i n a b o x or ot h er f a cilit y r e g ul arl y m ai nt ai n e d b y F e d er a l
  13                     E x pr e s s or d eli v eri n g t o a n a ut h ori z e d c o u ri er or dri v er a u th ori z e d b y F e d er al E x pr e s s t o
                         r e c ei v e d o c u m e nt s, a d dr e s s e d a s s et f ort h b el o w.
 14

 15         [   ]        b y tr a n s mitti n g a tr u e a n d c o rr e ct c o p y b y f a c i mil e fr o m f a c si mil e n u m b er ( 3 1 0) 4 7 7-
                         3 1 1 0 t o t h e p er s o n( s) at t h e f a c si mil e n u m b er( s) s et f o rth b el o w , w hi c h tr a n s mi s s io n w a s
 16                      c o nfir m e d a s c o m p let e. A c o p y of t h e tr a ns mi s s i o n r e c or d is att a c h e d h er e to.
 17
            [ ]          b y f or w ar di n g a tr u e a n d c o 1 T e ct c o p y b y e- m ai I fr o m e- m ail a d dr e s s
 18                                                        t o t he p cr s o n( s) at t h e e- m ai l a d d re s s( e s) s et f ort h b e lo w.
                        d o n c or n w e ll@ li n kli n e. c o m

 19                     I d e cl ar e u n d er p e n all y of p erj ur y u n d er t h e l a ws of t h e St at e of C alif or ni a t h at t h e
           f or e g oi n g i s tr u e a n d c orr e ct, a n d t h ar t his d e cl ar ati o n w a s e x e c ut e d A pril 2 4, 2 0 1-l , at L o s
 20
           A n g el e s, C alif or ni a.
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                                                                                                   6
                                                             Or d er D 1r e c 1 1 n g Pr o d u cti o n   or C or p or at e   R e c or d s
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                   F RI E D M A N v M U R P H Y S E R VI C E LI S T

           2       R a n d all J. D e a n E s q.
                   C h a p m a n, Gl u c k s m a n D e a n R o e b & B ar g e r, A P C
           3       1 1 9 0 0 W e st Ol y m pi c Bl v d , S uit e 8 0 0
                   L o s A n g el e s, C A 9 0 0 6 4- 0 7 0 4
           4
                   ( Att or n e y s f or D ef e n d a nt s Willi a m M a x w ell a n d M a x w e ll & C o m p a n y C P A' s I nc.)
           5
                   H e at h er L. R o si n g, E s q.
           6       Gr e g or A. II c n sr u d e, E s q.
                   Bri a n P. M ur p h y, E s q.
           7       Kli n e d ei n st P C
                   5 0 1 W e st Br o a d w a y, S uit e 6 0 0
           8       S a n Di e g o, C A 9 2 I 0 I

           9       ( Att or n e y s f or D ef e n d a nt s E d wi n C. S c hr ei b e r a n d              c hr ei b e r &             c hr ei b er, I n c.)

         lO        S c ott M. Ri c ht er, E s q.
                   L a w Offi c e s of S c ott M. Ri c ht er A P C
         11        9 2 0 0 S u n s et B o u le v ar d
                   P e nt h o u s e 2
         12        W est H oll y w o o d , C A 9 0 0 6 9

         13        ( Att or n e y f or D ef e n d a nt s D arr e ll M a a g a n d S o u t her n C a lif o r n i a R e s e ar c h, I n c .)

         14        E d wi n C. S c hr ei b er, E s q.
                   Eri c A. S c hr ei b er, E s q.
         15        E a n M. S c hr ei b er, E s q.
                   S c hr ei b er & S c hr ei b er, I nc.
         16        1 6 6 3 3 V e nt ur a B o ul e v ar d , S uit e 7 1 1
                   E n ci n o, C alif or ni a 9 1 4 3 6
         17
                   ( Att or n e y s f or D ef e n d a nt J o h n M ur p h y)
         18

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                                                                                                 7
                                                              Or d er Dir e cti n g Pr o d u cti o n of C or p or at e R e c or d s
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                                                                     P R O O F O F S E R VI C E
 1
                I a m e m pl o y e d i n t h e C o u nt y of L os A n g el es, St at e of C alif or ni a. I a m o v er t h e a g e of ei g ht e e n
 2   y e ars a n d n ot a p art y t o t h e wit hi n a cti o n; m y b usi n ess a d dr ess is 1 1 7 6 6 Wils hir e B o ul e v ar d, S uit e 7 0 0,
 3   L os A n g el es, C A 9 0 0 2 5.

 4            O n O ct o b er 8, 2 0 2 1, I s er v e d t h e f oll o wi n g d o c u m e nt(s): [ Pr o p os e d] C O U R T J U D G M E N T B Y
     D E F A U L T A N D S TI P U L A TI O N F O R E N T R Y O F J U D G M E N T O N T H E FI R S T A N D S E C O N D
 5   C A U S E S O F A C TI O N al o n g wit h t his P R O O F O F S E R VI C E o n t h e p arti es i n t his a cti o n:
 6   [ ]      b y pl a ci n g a tr u e a n d c orr e ct c o p y t h er e of e n cl os e d i n a s e al e d e n v el o p e wit h p ost a g e
 7            t h er e o n f ull y pr e p ai d f or d e p osit i n t h e U nit e d St at es P ost Offi c e m ail b o x, at m y b usi n ess
              a d dr ess s h o w n a b o v e, f oll o wi n g m y offi c e’s or di n ar y b usi n ess pr a cti c es f or t h e c oll e cti o n
 8            a n d pr o c essi n g of m ail, of w hi c h I a m r e a dil y f a mili ar, a n d a d dr ess e d as s et f ort h b el o w.
              S E E A T T A C H E D LI S T
 9            O n t h e s a m e d a y c orr es p o n d e n c e is pl a c e d f or c oll e cti o n a n d m aili n g, it is d e p osit e d i n t h e
              or di n ar y c o urs e of b usi n ess wit h t h e U nit e d St at es P ost al S er vi c e.
10
     []       b y d e p ositi n g a tr u e a n d c orr e ct c o p y t h er e of e n cl os e d i n a s e al e d e n v el o p e wit h d eli v er y
11            f e es t h er e o n f ull y pr e p ai d i n a b o x or ot h er f a cilit y r e g ul arl y m ai nt ai n e d b y F e d er al E x pr ess
              or d eli v eri n g t o a n a ut h ori z e d c o uri er or dri v er a ut h ori z e d b y F e d er al E x pr ess t o r e c ei v e
12            d o c u m e nts, a d dr ess e d as s et f ort h b el o w.
13
     []       b y tr a ns mitti n g a tr u e a n d c orr e ct c o p y b y f a csi mil e fr o m f a csi mil e n u m b er ( 3 1 0) 4 7 7 -3 1 1 0
14            t o t h e p ers o n(s) at t h e f a csi mil e n u m b er(s) s et f ort h b el o w, w hi c h tr a ns missi o n w as
              c o nfir m e d as c o m pl et e. A c o p y of t h e tr a ns missi o n r e c or d is att a c h e d h er et o.
15
     [ ]      b y f or w ar di n g a tr u e a n d c orr e ct c o p y b y e -m ail fr o m m y e -m ail a d dr ess
16            d o n @ d o n c or n w ell. c o m t o t h e p ers o n(s) at t h e e-m ail a d dr ess( es) s et f ort h b el o w.
17
     [ x]     b y tr a ns m itti n g a tr u e a n d c orr e ct c o p y vi a t h e L os A n g el es S u p eri or C o urt’s el e ctr o ni c
18            fili n g s yst e m t o t h e p ers o n(s) at t h e e-m ail a d dr ess( es) s et f ort h b el o w.

19              I d e cl ar e u n d er p e n alt y of p erj ur y u n d er t h e l a ws of t h e St at e of C alif or ni a t h at t h e f or e g oi n g is
     tr u e a n d c orr e ct, a n d t h at t his d e cl ar ati o n w as e x e c ut e d o n O ct o b er 8, 2 0 2 1 at L os A n g el es, C alif or ni a.
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                                                                                         _________________________________
22                                                                                               D o n al d L. C or n w ell
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                                  C O U R T J U D G M E N T B Y D E F A U L T2 6 A ofN D5 8 S TI P U L A TI O N F O R E N T R Y O F J U D G M9:E2 N2-TB K- 1 0 0 2EXHIBIT
     S O U T H W E S T E R N R E S E A R C H, I N C.
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 1                                                 S E R VI C E LI S T – F RI E D M A N v. M U R P H Y
 2   Di a n a Fri e dl a n d, Es q.
     B er nst ei n & Fri e dl a n d, P C
 3   1 6 0 0 0 V e nt ur a Bl v d., S uit e 1 0 0 0
     E n ci n o, C A 9 1 4 3 6
 4
     di a n a @l a e m pl o y m e nt c o u ns el. c o m
 5   ( Att or n e ys f or D ef e n d a nt a n d Cr oss- c o m pl ai n a nt S o ut h w est er n R es e ar c h, I n c.)
 6   J o h n P. C o g g er, Es q.
     G or d o n R e es S c ull y M a ns u k h a ni, L L P
 7   6 3 3 W est Fift h Str e et, 5 2 n d Fl o or
     L os A n g el es, C A 9 0 0 7 1
 8
     j c o g g er @ grs m. c o m
 9   ( Att or n e ys f or D ef e n d a nts D arr ell M a a g a n d S o ut h er n C alif or ni a R es e arc h, I n c.)
10   E d wi n C. S c hr ei b er, Es q.
     S c hr ei b er & S c hr ei b er, I n c.
11   1 6 6 3 3 V e nt ur a B o ul e v ar d, S uit e 1 2 4 5
     E n ci n o, C alif or ni a 9 1 4 3 6
12
      E d @s c hr ei b erl a wfir m. c o m
13   ( Att or n e ys f or D ef e n d a nt J o h n M ur p h y)
14   K e n n et h E. C h as e
     C h as e L a w & Ass o ci at es , P. A.
15   1 1 4 1 7 1st Str e et
     Mi a mi B e a c h, F L 3 3 1 4 1
16   k c h as e @ c h as el a w. c o m
     ( Att or n e ys f or D ef e n d a nt J o h n M ur p h y)
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                                  C O U R T J U D G M E N T B Y D E F A U L T2 7 A ofN D5 8 S TI P U L A TI O N F O R E N T R Y O F J U D G M9:E2 N2-TB K- 1 0 0 2EXHIBIT
     S O U T H W E S T E R N R E S E A R C H, I N C.
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             ATTORNEY        (Name      and Address):                                                                                 SBN:                                                                                       FOR   COURT    USE   ONLY


              Sheryl D Noel
              C o l e m a n & Horowitt LLP
              4 9 9 W e s t S h a w Ste 116
              Fresno,            CA      93704

             EMAIL:


             a t t o r n e y For: S o u t h w e s t e r n          Research,                Inc. a C a l i f o r n i a    Corporation                                                                                                                                        :
             NAME     OF C O U R T ,    JUDICIAL    DISTRICT    or B R A N C H     COURT,    IF A N Y :            .


              Los A n g e l e s S u p e r i o r Court
              6230 S y l m a r Ave                                                                                                                                                                                                                                           :
              Van Nuys, C A 91401


            PLAINTIFF:                                                                                                                                                                               COURT     CASE   No:

              Lois F r i e d m a n ,               et al.
             DEFENDANT:
                                                                                                                                                                                                                                    $C121128
              John         Murphy,            M . D . et al
                                                                                                                                                                                                     LEVYING     OFFICER      FILE NO:

                                                                                        Proof             of   Service                                                                                                            2021004295

             1. At the time of the s e r v i c e | w a s                              at least 18 y e a r s of a g e a n d not a party to this action.

             2. | s e r v e d          c o p i e s of the:
                    f. other ( s p e c i f y d o c u m e n t s ) :
                       Attachments, Subpoena Duces                                             Tecum
             3. a. Party S e r v e d                 (specify n a m e                of p a r t y as s h o w n         on d o c u m e n t s                 served):
                                                                                                          Darrell M a a g
             4. A d d r e s s           where        party w a s s e r v e d :                            5550 Partridge Court
                                                                                                          W e s t l a k e Village, C A 9 1 3 6 2
             5. | s e r v e d          the party:                                                                                                                                                                                                            ,
                    a. by p e r s o n a l s e r v i c e . | p e r s o n a l l y d e l i v e r e d the d o c u m e n t s listed in item 2 to the party or p e r s o n                                                        a u t h o r i z e d to
                       r e c e i v e s e r v i c e of p r o c e s s f o r the party (1) on: 1 2 / 2 1 / 2 0 2 1 at: 2 : 2 0 P M .
             7. P e r s o n            who     served          the p a p e r s :

                    a. N a m e :         S. G r e e n , Sr. D e p u t y
                    b. A d d r e s s :       S h e r i f f ' s Office, Civil D i v i s i o n , 8 0 0 S o u t h                      Victoria Ave, H O J                          Room    101, V e n t u r a , C A 9 3 0 0 9
                    c. T e l e p h o n e        number:          Phone:(805)                   654-2391
                    d. The fee for service was: $40.00
             9. l a m a           C a l i f o r n i a sheriff or m a r s h a l                   a n d | certify that the f o r e g o i n g                         is true a n d correct.


                                                                                                                                                                                             ~                   a
             Date:           Wednesday,                 December                 22, 2 0 2 1                                                                 by:                                 a

             Hearing: 0 1 / 1 4 / 2 0 2 2                   8:30 A M             in D e p t / D i v : A                                                                 Sheriffs A u t h o r i z e d A g e n t
                                                                                                                                                                        Bill A y u b




     Judicial C o u n c i l        Form       POS-010                                                                                               Original
                                                                                                                            (c) C o u n t y S u i t e    Sheriff, Teleosoff, I n c



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I n a d diti o n t o it s ot h er cl ai m s, S o ut h w e st er n R e s e ar c h, I n c. a s s ert s a
c o n str u cti v e tr u st a n d a n e q uit a bl e li e n o n D arr ell M a a g ʹs r e al pr o p ert y at
5 5 5 0 P artri d g e C o urt, W e stl a k e Vill a g e, C A 9 1 3 6 2. S e e E x hi bit 2, p. 8, ll. 9 ‐
1 4, p. 1 1, ll. 4 ‐6:

            ʺPl ai ntiff Fri e d m a n a n d S RI pr e s e nt e d cl e ar a n d c o n vi n ci n g e vi d e n c e
            t h at Dr. M ur p h y a n d Mr. M a a g e a c h k n o wi n gl y u s e d a s u b st a nti al
            a m o u nt of f u n d s w hi c h t h e y h a d u nl a wf ull y c o n v ert e d fr o m S RI i n
            or d er t o p ur c h a s e r e al pr o p ert y f or t h e m s el v e s a n d t h eir s p o u s e s or
            r el at e d b u si n e s s e ntiti e s a n d, b y virt u e t h er e of, S RI h a s a c o n str u cti v e
            tr u st or e q uit a bl e li e n u p o n s u c h r e al pr o p ert y p ur c h a s e d b y
            D ef e n d a nt s M ur p h y a n d M a a g a s f oll o w s … t he C o urt fi n d s t h at S RI
            h a s a c o n str u cti v e tr u st or e q uit a bl e li e n u p o n t h e 5 5 5 0 P artri d g e
            C o urt, W e stl a k e Vill a g e pr o p ert y, eff e cti v e a s of M a y 1 0, 2 0 1 1, i n a n
            a m o u nt e q u al t o, or r e pr e s e nti n g, fift y p er c e nt ( 5 0 %) of t h e
            o w n er s hi p e q uit y i n t h e pr o p ert y. ʺ




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 1
     CRAIG G. MARGULIES (SBN 185925)
 2   Craig@MarguliesFaithLaw.com
     MONSI MORALES (SBN 235520)
 3   Monsi@MarguliesFaithLaw.com
     MARGULIES FAITH, LLP
 4   16030 Ventura Blvd., Suite 470
     Encino, California 91436
 5   Telephone: (818) 705-2777
     Facsimile: (818) 705-3777
 6   Counsel for Darrell Derrick Maag

 7   DANIEL J. WEINTRAUB (SBN 132111)
     Dan@wsrlaw.net
 8   JAMES R. SELTH (SBN 123420)
     Jim@wsrlaw.net
 9   WEINTRAUB & SELTH, APC
     11766 Wilshire Blvd., Suite 450
10   Los Angeles, CA 90025
     Telephone: (310) 207-1494
11   Facsimile: (310) 442-0660
     Counsel for Plaintiffs Southern California Research, LLC
12
                          UNITED STATES BANKRUPTCY COURT
13                         CENTRAL DISTRICT OF CALIFORNIA
                                 NORTHERN DIVISION
14
     In re                                      Lead Case No.: 9:22-bk-10022-DS
15
     SOUTHERN CALIFORNIA RESEARCH,              Chapter 11
16   LLC,

17                                    Debtor.
                                                Jointly Administered with
18   In re
                                                Case No: 9:22-bk-10023-DS
19   DARRELL DERRICK MAAG,

20                                    Debtors
                                                Adv. No.: 9:22-ap-01012-DS
21   SOUTHERN CALIFORNIA RESEARCH,
     LLC and DARRELL DERRICK MAAG,    FIRST AMENDED COMPLAINT FOR:
22                                    1) AVOIDANCE OF PREFERENTIAL
                          Plaintiffs,    TRANSFERS PURSUANT TO 11
23   v.                                  U.S.C. § 547;
                                      2) RECOVERY OF PREFERENTIAL
24   SOUTHWESTERN RESEARCH, INC.,        TRANSFERS PURSUANT TO 11
                                         U.S.C. §550;
25                       Defendant. 3) PRESERVATION OF AVOIDED
                                         TRANSFERS PURSUANT TO 11
26                                       U.S.C. § 551; and
                                      4) DISALLOWANCE OF ANY CLAIMS
27                                       HELD BY DEFENDANT PURSUANT
                                         TO 11 U.S.C. § 502(d)
28

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 1   TO THE HONORABLE J. DEBORAH SALTZMAN, UNITED STATES BANKRUPTCY

 2   JUDGE:

 3            Plaintiffs Southern California Research, LLC (“SCR”) and Darrell Maag (“Maag” and

 4   together with SCR, “Plaintiffs”) bring this “Complaint for: (1) Avoidance of Preferential

 5   Transfers pursuant to 11 U.S.C. §547; (2) Recovery of Preferential Transfers Pursuant to

 6   11 U.S.C. § 550; (3) Preservation of Avoided Transfers Pursuant to 11 U.S.C. § 551; and

 7   (4) Disallowance of any Claims held by Defendant pursuant to 11 U.S.C. §502(d)” (the

 8   “Complaint”) against defendant Southwestern Research, Inc. (“SRI” or “Defendant”), and

 9   allege as follows:

10                     STATEMENT OF JURISDICTION AND VENUE

11            1.    On January 12, 2022 (“Petition Date”), a separate voluntary petition for relief

12   under chapter 11 of title 11 of the United States Code (“Bankruptcy Code”) was filed by

13   each Plaintiff in the United States Bankruptcy Court for the Central District of California,

14   Northern Division (“Court”), commencing the chapter 11 cases titled In re Darrell Derrick

15   Maag, Case Number 9:22-bk-10023-DS (the “Maag Bankruptcy Case”), and In re

16   Southern California Research, LLC, Case Number 9:21-bk-10022-DS (the “SCR

17   Bankruptcy Case” and together with the Maag Bankruptcy Case, the “Bankruptcy Cases”).

18            2.    On January 19, 2022, the Court entered an order providing for the joint

19   administration of the Bankruptcy Cases.

20            3.    This Court has jurisdiction over this adversary proceeding and its subject

21   matter pursuant to 28 U.S.C. § 1334(b) in that this proceeding arises in, and relates to,

22   the Bankruptcy Cases.

23            4.    This action is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(B), (C),

24   (F) and (O). Plaintiffs consent to entry of final judgment and orders by the Bankruptcy

25   Court.

26            5.    Venue is proper in this Court under 28 U.S.C. § 1409(a).

27   ///

28   ///

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 1                                              PARTIES

 2          6.      Plaintiff SCR is the chapter 11 debtor and debtor-in-possession in the SCR

 3   Bankruptcy Case. SCR is a California limited liability company whose principal place of

 4   business is in Thousand Oaks, California, in Ventura County.

 5          7.      Plaintiff Darrell Derrick Maag is the chapter 11 debtor and debtor-in-

 6   possession in the Maag Bankruptcy Case and, at all times relevant hereto, was and is an

 7   individual residing in the State of California.

 8          8.      Plaintiffs are informed and believe that Defendant Southwestern Research,

 9   Inc. (“SRI”) is a California corporation headquartered in Hayward, California, and is subject

10   to the jurisdiction of this Court.

11                                        GENERAL ALLEGATIONS

12          9.      On or about August 6, 2013, Defendant, Lois Friedman, Trustee of the

13   Dennis Munjack Inter Vivos Trust (“Friedman”), and Jared Stein (“Stein”) filed a complaint

14   against SCR and Maag, among others, in the Superior Court of California (the “State

15   Court”), asserting shareholder derivative claims on behalf of SRI and commencing the

16   action titled Friedman v. Murphy, et al, Case No. SC121128 (the “SRI Action”).

17          10.     On or about June 14, 2019, Defendant Friedman and Stein filed the Fifth

18   Amended Complaint in the SRI Action.

19          11.     On October 20, 2021, a default judgment was entered in the SRI Action in

20   favor of Defendant and against the Plaintiffs in the approximate amounts of $21.3 million

21   against Maag and $11.1 million against SCR (the “Default Judgment”).

22          12.     Plaintiffs are informed and believe that, on or about October 25, 2021,

23   Defendant filed a Notice of Judgment Lien (the “Maag Judgment Lien”) with the State of

24   California Office of the Secretary of State, as File No. U210096510724, listing “Darrell

25   Maag” as the judgment debtor. A copy of the Maag Judgment Lien is attached as Exhibit

26   1 and incorporated herein by this reference.

27          13.     Plaintiffs are informed and believe that, on or about October 25, 2021,

28   Defendant filed a Notice of Judgment Lien (the “SCR Judgment Lien”) with the State of

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 1   California Office of the Secretary of State, as File No. U210096514025, listing “SCR” as

 2   the judgment debtor. A copy of the SCR Judgment Lien is attached as Exhibit 2 and

 3   incorporated herein by this reference.

 4           14.   On November 1, 2021, the State Court issued an abstract of judgment – civil

 5   and small claims in the SRI Action in favor of Defendant and against the Plaintiffs (the

 6   “Abstract of Judgment”). A copy of the Abstract of Judgment is attached as Exhibit 3 and

 7   incorporated herein by this reference. The judgment debtors named in the Abstract of

 8   Judgment are “Darrell Maag,” “Southern California Research, LLC” and “John Murphy,

 9   M.D.”

10           15.   Plaintiffs are informed and believe that, on or about November 29, 2021,

11   Defendant recorded the Abstract of Judgment in the Ventura County Clerk-Recorder as

12   Abstract No. 2021001978181 (the “Ventura County Recorded Abstract”). A copy of the

13   Ventura County Recorded Abstract is attached as Exhibit 4 and incorporated herein by

14   this reference.

15           16.   Plaintiffs are informed and believe that, on or about December 6, 2021,

16   Defendant recorded the Abstract of Judgment in the Los Angeles County Recorder’s

17   Office as Abstract No. 20211804889 (the “Los Angeles County Recorded Abstract”). A

18   copy of the Los Angeles County Recorded Abstract is attached as Exhibit 5 and

19   incorporated herein by this reference.

20           17.   Plaintiffs are informed and believe that, pursuant to a Writ of Execution

21   issued on or about October 29, 2021, Defendant caused the Fresno County Sheriff’s Office

22   to levy multiple deposit accounts belonging to the Plaintiffs for the benefit of the Defendant

23   (the “Levies”).

24           18.   Plaintiffs are informed and believe that, by the Levies, funds from the bank

25   accounts belonging to Plaintiff SCR and Plaintiff Maag were levied in amounts not less

26   than $15,225.32 and $16,324.52, respectively, in the ninety (90) days prior to the Petition

27   Date.

28           19.   Plaintiffs are informed and believe that, by the Levies, Defendant received

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 1   funds from the bank accounts belonging to Plaintiff SCR (the “SCR Levies”) and Plaintiff

 2   Maag (the “Maag Levies”) in amounts not less than $15,088.32 and $336.66,

 3   respectively, in the ninety (90) days prior to the Petition Date.

 4          20.    Plaintiffs are informed and believe that, on or about November 22, 2021, the

 5   State Court issued an Order directing Plaintiff Maag to appear for a judgment debtor

 6   examination on January 14, 2022 (the “Maag Judgment Exam Order”). The Maag

 7   Judgment Exam Order is attached as Exhibit 6 and incorporated herein by this reference.

 8          21.    Plaintiffs are informed and believe that, on or about November 29, 2021, the

 9   State Court issued an Order directing Plaintiff Maag, as Chief Executive Officer of Plaintiff

10   SCR, to appear for a judgment debtor examination on January 14, 2022 (the “SCR

11   Judgment Exam Order”). The SCR Judgment Exam Order is attached as Exhibit 7 and

12   incorporated herein by this reference

13          22.    Plaintiffs are informed and believe that the Maag Judgment Exam Order was

14   served on or about December 21, 2021.

15          23.    Plaintiffs are informed and believe that the SCR Judgment Exam Order was

16   served on or about December 21, 2021.

17                                   FIRST CLAIM FOR RELIEF

18           (AVOIDANCE OF PREFERENTIAL TRANSFERS - 11 U.S.C. § 547(b))

19                               Plaintiff Maag against Defendant

20          24.    Plaintiffs reallege and incorporate each and every allegation contained in the

21   prior paragraphs of this Complaint as if fully set forth herein.

22          25.    Prior to bringing this Complaint, Plaintiff Maag performed reasonable due

23   diligence in the circumstances of his Bankruptcy Case with respect to the facts alleged

24   herein and took into account any known or reasonably knowable potential affirmative

25   defenses of Defendant under 11 U.S.C. § 547(c).

26          26.    Within the ninety (90) days prior to the Petition Date, a transfer of property

27   of Plaintiff Maag was made when the Defendant purported to perfect the Maag Judgment

28   Lien in favor of itself and against Plaintiff Maag by recording the Abstract of Judgment.

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 1           27.   Within the ninety (90) days prior to the Petition Date, a transfer of property

 2   of Plaintiff Maag was made when the Maag Levies occurred.

 3           28.   Within the ninety (90) days prior to the Petition Date, a transfer of property

 4   of Plaintiff Maag was made when the Defendant purported to perfect a lien in favor of itself

 5   and against Plaintiff Maag by serving the Maag Judgment Exam Order.

 6           29.   The transfers of property caused by the Abstract of Judgment, the Maag

 7   Levies and the Maag Judgment Exam Order are referred to herein as the “Maag

 8   Transfers.”

 9           30.   The Maag Transfers were transfers of a property interest of Plaintiff Maag.

10           31.   The Maag Transfers were made to or for the benefit of Defendant at a time

11   in which Defendant was an alleged creditor of Plaintiff Maag, as the term “creditor” is

12   defined by 11 U.S.C. § 101(10).

13           32.   The Maag Transfers were made for or on account of an antecedent debt

14   purportedly owed by Plaintiff Maag to Defendant before such Maag Transfers were made.

15           33.   The Maag Transfers were made while the Plaintiff Maag was insolvent.

16           34.   The Maag Transfers enabled Defendant to receive more than Defendant

17   would otherwise have received if (a) the Maag Bankruptcy Case was a case under chapter

18   7 of the Bankruptcy Code; (b) the Maag Transfers had not been made; and (c) Defendant

19   received payment of such debt to the extent provided by the provisions of the Bankruptcy

20   Code.

21           35.   Pursuant to 11 U.S.C. §547(b), Plaintiff Maag is entitled to avoid the Maag

22   Transfers to Defendant.

23                                 SECOND CLAIM FOR RELIEF

24            (AVOIDANCE OF PREFERENTIAL TRANSFERS - 11 U.S.C. § 547(b))

25                                Plaintiff SCR against Defendant

26           36.   Plaintiffs reallege and incorporate each and every allegation contained in the

27   prior paragraphs of this Complaint as if fully set forth herein.

28           37.   Prior to bringing this Complaint, Plaintiff SCR performed reasonable due

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 1   diligence in the circumstances of his Bankruptcy Case with respect to the facts alleged

 2   herein and took into account any known or reasonably knowable potential affirmative

 3   defenses of Defendant under 11 U.S.C. § 547(c).

 4           38.   Within the ninety (90) days prior to the Petition Date, a transfer of property

 5   of Plaintiff SCR was made when the Defendant purported to perfect a judgment lien in

 6   favor of itself and against Plaintiff SCR by filing the SCR Judgment Lien with the State of

 7   California Office of the Secretary of State.

 8           39.   Within the ninety (90) days prior to the Petition Date, a transfer of property

 9   of Plaintiff SCR was made when the SCR Levies occurred.

10           40.   Within the ninety (90) days prior to the Petition Date, a transfer of property

11   of Plaintiff SCR was made when the Defendant purported to perfect a lien in favor of itself

12   and against Plaintiff SCR by serving the SCR Judgment Exam Order.

13           41.   The transfers of property caused by the SCR Judgment Lien, the SCR

14   Levies and the SCR Judgment Exam Order are referred to herein as the “SCR Transfers.”

15           42.   The SCR Transfers were transfers of a property interest of Plaintiff SCR.

16           43.   The SCR Transfers were made to or for the benefit of Defendant, at a time

17   in which Defendant was an alleged creditor of Plaintiff SCR, as the term “creditor” is

18   defined by 11 U.S.C. § 101(10).

19           44.   The SCR Transfers were made for or on account of an antecedent debt

20   purportedly owed by Plaintiff SCR to Defendant before such SCR Transfers were made.

21           45.   The SCR Transfers were made while the Plaintiff SCR was insolvent.

22           46.   The SCR Transfers enabled Defendant to receive more than Defendant

23   would otherwise have received if (a) the SCR Bankruptcy Case was a case under chapter

24   7 of the Bankruptcy Code; (b) the SCR Transfers had not been made; and (c) Defendant

25   received payment of such debt to the extent provided by the provisions of the Bankruptcy

26   Code.

27           47.   Pursuant to 11 U.S.C. §547(b), Plaintiff SCR is entitled to avoid the SCR

28   Transfers to Defendant.

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 1                                   THIRD CLAIM FOR RELIEF

 2                (TO RECOVER AVOIDED TRANSFERS - 11 U.S.C. § 550(a))

 3                                       Against Defendant

 4          48.    Plaintiffs reallege and incorporate each and every allegation contained in

 5   the prior paragraphs of this Complaint as if fully set forth herein.

 6          49.    Plaintiffs are informed and believe that the Defendant was the initial

 7   transferee of the Maag Transfers and the SCR Transfers (together, the “Transfers”) for

 8   whose benefit the Transfers were made.

 9          50.    Pursuant to 11 U.S.C. § 550(a), Plaintiffs are entitled to recover the

10   property transferred by the Transfers, or its value, from the Defendant and any

11   subsequent transferee.

12                                     FOURTH CLAIM FOR RELIEF

13                     (TO PRESERVE AVOIDED TRANSFERS - 11 U.S.C. §551)

14                                       Against Defendant

15          51.    Plaintiffs reallege and incorporate each and every allegation contained in

16   the prior paragraphs of this Complaint as if fully set forth herein.

17          52.    Plaintiffs are informed and believe that the Defendant was the initial

18   transferee of the Transfers for whose benefit the Transfers were made.

19          53.    Plaintiffs are informed and believe that the property transferred by the

20   Transfers is property of either the Maag or the SCR bankruptcy estate (the “Estates”).

21          54.    Pursuant to 11 U.S.C. §551, Plaintiffs are entitled to preserve the avoided

22   Transfers for the benefit of the Estates.

23                                   FIFTH CLAIM FOR RELIEF

24                         (TO DISALLOW CLAIMS - 11 U.S.C. § 502(d))

25                                       Against Defendant

26          55.    Plaintiffs reallege and incorporate each and every allegation contained in the

27   prior paragraphs of this Complaint as if fully set forth herein.

28          56.    The Defendant is the transferee of a transfer that is avoidable under 11

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 1   U.S.C. § 547.

 2            57.   Defendant is an entity from whom property is recoverable under 11 U.S.C.

 3   § 550.

 4   Pursuant to 11 U.S.C. § 502(d), any and all claims of the Defendant against the Estates

 5   or the Plaintiffs (the “SRI Claims”) must be disallowed in their entirety.

 6                                      PRAYER FOR RELIEF

 7   WHEREFORE, Plaintiffs pray for judgment as follows:

 8                   On The First, Second, Third and Fourth Claims for Relief

 9            1.    For avoidance of the Transfers.

10            2.    For judgment against Defendant for the recovery of the property or the

11   value of property transferred by the Transfers, plus interest as allowed by law, in an

12   amount to be proven at trial.

13            3.    For preservation of the Transfers for the benefit of the Estates.

14            4.    For attorneys’ fees and costs of suit incurred herein, as allowed by law.

15            5.    For such other and further relief as the Court deems just and proper.

16                                   On The Fifth Claim for Relief

17            1.    For disallowance of any SRI Claims pursuant to 11 U.S.C. § 502(d).

18            2.    For attorneys’ fees and costs of suit incurred herein, as allowed by law.

19            3.    For such other and further relief as the Court deems just and proper.

20

21    DATED: March 29, 2022                           MARGULIES FAITH LLP
22
                                                      By:   /s/ Craig G. Margulies
23                                                          Craig G. Margulies
                                                            Monsi Morales
24                                                    Proposed Counsel for Plaintiffs
25

26

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                         STATE OF CALIFORNIA                                                                             For Office Use Only
                         Office of the Secretary of State
                         NOTICE OF JUDGMENT LIEN (JL 1)                                                                   -FILED-
                         California Secretary of State
                         1500 11th Street                                                                        File #: U210096510724
                         Sacramento, California 95814
                                                                                                                 Date Filed: 10/25/2021
                         (916) 653-3516



Submitter Information:
  Contact Name                                                             Sheryl D. Noel
  Organization Name                                                        COLEMAN & HOROWITT, LLP
  Phone Number                                                             (559) 248-4820
  Email Address                                                            snoel@ch-law.com
  Address                                                                  499 W SHAW AVENUE, STE. 116, FRESNO, CA 93704
                                                                           Apo (Us)
Judgment Debtor Information:

                     Judgment Debtor Name                                                      Mailing Address

   DARRELL MAAG                                             5550 Partridge Court
                                                            Westlake Village, CA 91362


Judgment Creditor Information:

                                   Judgment Creditor Name                                                        Mailing Address

   SOUTHWESTERN RESEARCH, INC., a California corporation                                   4221 WILSHIRE BLVD., SUITE 430
                                                                                           LOS ANGELES, CA 90010


Judgment Information:
  A. Name of Court Where Judgment Was Entered                              LOS ANGELES COUNTY SUPERIOR COURT
  B. Title of the Action                                                   LOIS FRIEDMAN v. JOHN MURPHY, ET AL.
  C. Case Number                                                           SC121128
  D. Date Judgment Was Entered                                             10/20/2021
                                               E. Date(s) of Subsequent Renewal of Judgment (if any)

                                                                 None Entered

  F. Date of This Notice                                                   10/25/2021
  G. Amount Required to Satisfy Judgment at This Date of                   $21,277,580.14
  Notice


  All property subject to enforcement of a Money Judgment against the Judgment Debtor to which a Judgment Lien
  on personal property may attach under Section 697.530 of the Code of Civil Procedure is subject to this Judgment
  Lien.
Declaration and Signature:
  Declaration:                                                             I am the Attorney of Record for the Judgment Creditor.

       I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.



Sheryl D. Noel                                                                                               10/25/2021
Sign Here                                                                                                    Date




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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
16030 Ventura Blvd., Suite 470, Encino, CA 91436

A true and correct copy of the foregoing document entitled FIRST AMENDED COMPLAINT FOR:
1) AVOIDANCE OF PREFERENTIAL TRANSFERS PURSUANT TO 11 U.S.C. § 547;
2) RECOVERY OF PREFERENTIAL TRANSFERS PURSUANT TO 11 U.S.C. §550;
3) PRESERVATION OF AVOIDED TRANSFERS PURSUANT TO 11 U.S.C. § 551; and
4) DISALLOWANCE OF ANY CLAIMS HELD BY DEFENDANTS PURSUANT TO 11 U.S.C. § 502(d)
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
March 29, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

     ATTORNEY FOR CREDITOR: J Scott Bovitz bovitz@bovitz-spitzer.com
     ATTORNEY FOR PLAINTIFF: Craig G Margulies Craig@MarguliesFaithlaw.com,
     Vicky@MarguliesFaithlaw.com;Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com
    ATTORNEY FOR US TRUSTEE: Kristin T Mihelic kristin.t.mihelic@usdoj.gov
    ATTORNEY FOR PLAINTIFF Monserrat Morales Monsi@MarguliesFaithLaw.com,
    Vicky@MarguliesFaithLaw.com;Helen@marguliesfaithlaw.com;Angela@MarguliesFaithlaw.com
    United States Trustee (ND) ustpregion16.nd.ecf@usdoj.gov
    ATTORNEY FOR PLAINTIFF: James R Selth jim@wsrlaw.net, jselth@yahoo.com;vinnet@ecf.inforuptcy.com
    ATTORNEY FOR PLAINTIFF: Daniel J Weintraub dan@wsrlaw.net, vinnet@ecf.inforuptcy.com


                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On March 29, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

JUDGE: Hon. Deborah J. Saltzman United States Bankruptcy 255 E. Temple Street, Crtrm 1639 Los Angeles, CA 90012

                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on                 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 March 29, 2022                  Angela Saba                                   /s/ Angela Saba
 Date                             Printed Name                                 Signature




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                                                   LAW OFFICES OF
                                         DONALD L. CORNWELL, P.C.
                                             11766 WILSHIRE BOULEVARD
TELEPHONE                                             SUITE 700                                         TELECOPIER
(310) 477-3111                             LOS ANGELES, CALIFORNIA 90025                               (310) 477-3110
                                                 March 14, 2022

Sent via Email
Craig G. Margulies, Esq.
MARGULIES FAITH, LLP
16030 Ventura Blvd., Suite 470
Encino, California 91436

           Re: Southern California Research and Darrell Maag v. Lois Friedman and Southwestern
           Research Inc., Adv. No.: 9:22-ap-01012-DS

Mr. Margulies:

        I am writing to formally meet and confer with you regarding the Adversary Complaint (Preference
Action) you have recently filed and served on behalf of Southern California Research, LLC (“SCR”) and
Darrell Maag against my clients Lois Friedman, the Trustee of the Dennis Munjack Inter Vivos Trust (“the
Trust”) and Southwestern Research, Inc. (“SRI.”) While I understand the purpose for your filing of the
action, and Scott Bovitz will address the adversary complaint on behalf of SRI, there are several problems
with your adversary complaint as to the Trust which need to be addressed, as discussed below.

     1. You served the Complaint on the Trust, purportedly filed on behalf of both Mr. Maag and SCR, after
        the Bankruptcy Court effectively removed your firm as counsel for SCR

        Your office electronically served the complaint on me (on behalf of the Dennis Munjack Inter Vivos
Trust, or “the Trust”) on March 8, 2022 at 1:53 p.m. The Bankruptcy Court removed your firm as counsel
for SCR earlier on March 8. Whether your firm had authority to serve the Trust with an adversary complaint
filed on behalf of SCR after its removal as counsel for SCR is at least questionable. In all events, for the
reasons explained below, there will need to be an amended complaint filed by a new counsel acting on
behalf of SCR. Hopefully the new counsel will understand that the Trust was never properly named as a
party to begin with for the reasons discussed below. If not, that is what Rule 9011 is intended for.

     2. You have improperly named the Trust as party to the adversary action, when the Trust was not a
        party to any of the lien filings you seek to set aside and did not receive one dollar from any levy on
        Maag or SCR bank accounts.

        While I will leave it to you and Mr. Bovitz to work out the resolution of the adversary claims
asserted against SRI by Mr. Maag, the principal purpose of this letter is to meet and confer with you to in
order to obtain Mr. Maag’s agreement to dismiss the action voluntarily without prejudice as to the Trust
(acknowledging the administrative/procedural issues that will have to be dealt with due to your joint filing in
order to secure consent to dismissal from new counsel representing SCR).

        You have named the Trust as a defendant in your adversary action despite the fact that the Trust has
a judgment of only $4,200 (jointly and severally) against Mr. Maag and SCR The Trust was not a party to a
single one of the lien filings that were made (many of which are inaccurately listed or omitted in your
Complaint.) Similarly, the Trust received no funds in any amount from the bank levies which were done by
the Sheriffs’ office on behalf of SRI (as the writs of execution make clear). It is also clear that you knew at
the time you filed the Adversary Complaint that the Trust was not a party to any of the lien claims.

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        Your complaint is quite explicit that the judgment lien on personal property filed with the Secretary
of State, the Abstract of Judgment and the ORAP lien referred to in your Complaint all named SRI as the
sole judgment creditor with respect to such lien filings and (and did not list the Trust). See Complaint ¶¶
13-16 and 20-22. Your Complaint is also explicit that the writs of execution were requested and issued in
favor of SRI, but not the Trust. Id. You are well aware that the funds turned over by the Sheriff’s offices
were turned over to SRI pursuant to the Writs of Execution – and not the Trust. SRI counsel Coleman &
Horowitt received a total of two checks totaling $15,424.98 -- ($336.56 from the Maag accounts and
$15,088.32 from the SCR accounts, copies of which are attached along with the relevant Memoranda of
Garnishee). Those funds were deposited into Coleman & Horowitt’s trust account on the day they were
received and have remained there ever since.

        Part of your confusion apparently results from the fact that Wells Fargo levied upon but held
$11,410.57 from the joint account in the name of Darrell Maag and Hunter Maag and never paid the funds
over to SRI prior to the bankruptcy filing. See the attached Notice of Levy that was served on Hunter Maag
by Wells Fargo. Neither SRI or the Trust has those funds. But that still does not fully explain the
discrepancy in your numbers. Most importantly here, the Trust has not received one penny from any of
the levies made on the writs of execution.

       The only allegation in your complaint which makes even passing reference to the Trust is paragraph
17, which states:

        “Plaintiffs are informed and believe that, by the Levies, Defendant SRI and/or
        Defendant Friedman received funds from the bank accounts belonging to Plaintiff SCR
        (the “SCR Levies”) and Plaintiff Maag (the “Maag Levies”) in amounts not less than
        $15,225.32 and $16,324.52, respectively, in the ninety (90) days prior to the Petition Date.”

That allegation contradicts everything else in the Complaint, which acknowledges that the liens were
recorded and the levies were made on behalf of SRI and is, in all events, completely false as to the Trust.

   3. Your Complaint is full of errors and thus you are going to have to amend in all events

       Your adversary complaint is full of errors which will require correction (in addition to the fact that
you’ve filed a complaint for SCR who you do not represent in the bankruptcy). Let me give you a list:

   •    Exhibit 1 referenced in your complaint (Ventura County Abstract) was not attached to the Complaint

   •    Paragraphs 13-14 of your Complaint falsely state that the Abstract of Judgment issued by the Court
        on November 1, 2021 and recorded in Ventura County name only Darrell Maag as judgment debtor.
        In truth, Darrell Maag, Southern California Research, LLC and John Murphy were all named as
        judgment debtors in the Abstracts (in Dr. Murphy’s case with a bankruptcy disclaimer).

   •    You omitted any reference to the JLPP U210096510724 filed by SRI against Darrell Maag with the
        Secretary of State on October 25, 2021

   •    You omitted any reference to the Abstract of Judgment against both Mr. Maag and SCR which was
        recorded by SRI in Los Angeles County on December 6, 2021 as Instrument No. 20211804889


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   •    You omitted any reference to the Court’s issuance of an ORAP directed to SCR on November 29,
        2021

   •    You omitted any reference to the service of the ORAPs on both Mr. Maag and SCR on December 21,
        2021. (It is the service of the ORAP which perfects the lien)

   •    Your Complaint alleges that the amount of funds obtained by SRI from the bank levies was
        $31,549.84 whereas the actual correct total, as established by the two checks received (copies
        attached along with the Memoranda of Garnishee) was $15,424.98

        The adversary complaint will need to be amended to resolve the above omissions and errors.

       I am requesting that your adversary complaint be dismissed without prejudice as to the Trust. If you
and Mr. Bovitz are unable to negotiate an acceptable resolution of the adversary claims, you will have a full
opportunity to litigate your preference claims against SRI. In the event that the adversary action is not
dismissed as to the Trust, we will likely be filing a Rule 12(b)(6) motion to dismiss as well as a Motion for
Sanctions under Rule 9011 against you, your law firm and Mr. Maag and SCR. Please advise me promptly
whether Mr. Maag will agree to cause the adversary complaint to be dismissed as to the SRI.

                                                     Sincerely,



                                                     Donald L. Cornwell




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
16030 Ventura Blvd., Suite 470, Encino, CA 91436

A true and correct copy of the foregoing document entitled MOTION FOR DISALLOWANCE OF PROOF OF CLAIM 7
FILED BY SOUTHWESTERN RESEARCH, INC.; MEMORANDUM OF POINTS AND AUTHORITIES;
DECLARATIONS OF MONSI MORALES AND DARRELL MAAG will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
September 2, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On September 2, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

JUDGE: Hon. Deborah J. Saltzman, U.S. Bankruptcy Court, 255 E. Temple St., Ste. 1634, Los Angeles, CA 90012
Claimant 7: Southwestern Research, Inc., c/o Donald L. Cornwell, Law Offices of Donald L. Cornwell, 11766 Wilshire
Blvd., Suite 700, Los Angeles, CA 90025
                                                                       Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on                 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 September 2, 2022                    Helen Cardoza                                             /s/ Helen Cardoza
 Date                                    Printed Name                                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                             ADDITIONAL SERVICE INFORMATION:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

ATTORNEY FOR CREDITOR: J Scott Bovitz bovitz@bovitz-spitzer.com
ATTORNEY FOR CREDITOR: Jeffrey D Cawdrey jcawdrey@grsm.com adeyemo@gordonrees.com;
sdurazo@grsm.com
ATTORNEY FOR CREDITOR: Donald Cornwell don@doncornwell.com
ATTORNEY FOR CREDITOR: Vincent V Frounjian vvf.law@gmail.com
ATTORNEY FOR DEBTOR: Craig G Margulies Craig@MarguliesFaithlaw.com, Vicky@MarguliesFaithlaw.com;
Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com
ATTORNEY FOR US TRUSTEE: Kristin T Mihelic kristin.t.mihelic@usdoj.gov
ATTORNEY FOR DEBTOR: Monserrat Morales Monsi@MarguliesFaithLaw.com,
Vicky@MarguliesFaithLaw.com;Helen@marguliesfaithlaw.com;Angela@MarguliesFaithlaw.com
ATTORNEY FOR DEBTOR: James R Selth jim@wsrlaw.net, jselth@yahoo.com;vinnet@ecf.inforuptcy.com
ATTORNEY FOR CREDITOR: Valerie Smith claims@recoverycorp.com
United States Trustee (ND) ustpregion16.nd.ecf@usdoj.gov
ATTORNEY FOR DEBTOR: Daniel J Weintraub dan@wsrlaw.net, vinnet@ecf.inforuptcy.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
